     Case: 1:15-cv-08940 Document #: 184 Filed: 10/01/21 Page 1 of 63 PageID #:2034




                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE NORTHERN DISTRICT OF
                                 ILLINOIS EASTERN DIVISION


     GAMON PLUS, INC. AND GAMON )
     INTERNATIONAL, INC.,              )
                                       )
                     Plaintiffs,       ) Civil Action No. 15-cv-8940-CRN-YBK
                                       )
     v.                                )
                                       )
     CAMPBELL SOUP COMPANY, MEIJER, )
     INC., THE KROGER CO., AND TRINITY )
     MANUFACTURING, L.L.C.,            )
                                       )
                     Defendants.
                                       )


                  ANSWER, AFFIRMATIVE DEFENSES AND
            COUNTERCLAIMS OF DEFENDANT CAMPBELL SOUP
     COMPANY TO THE AMENDED COMPLAINT FOR PATENT INFRINGEMENT

         Defendant Campbell Soup Company (“Campbell”) submits the following Answer,

Affirmative Defenses and Counterclaims in response to the Amended Complaint for Patent

Infringement (Dkt. No. 183-1) filed by plaintiffs Gamon Plus, Inc. and Gamon International, Inc.

(“Gamon” or “Plaintiffs”) on September 10, 2021. 1 With respect to each of the numbered

paragraphs of the Complaint, Campbell responds as follows:

1.       Gamon Plus, Inc. is a corporation organized under the laws of the State of Illinois with a
         principal place of business at 2303 S Michigan Ave. Suite 203, Chicago IL 60616. Gamon
         Plus, Inc. is in the business of, among other things, the design and production of specialty
         packaging and point-of-purchase displays.

ANSWER: Campbell is without knowledge or information sufficient to form a belief as to the

truth of the allegations contained in Paragraph 1 and, therefore, denies same.



1
 Campbell submits this Answer in response to the redlined, proposed Amended Complaint for Patent Infringement
(Dkt. No. 183-1), filed as Exhibit 1 to Plaintiffs’ Motion for Leave to File Amended Complaint. See Dkt. No. 183.
Although the Court has yet to grant Plaintiffs’ Motion for Leave, the Court previously set the deadline for
Defendants to answer Plaintiffs’ Amended Complaint for October 1, 2021. See Dkt. No. 182.

                                                        1
     Case: 1:15-cv-08940 Document #: 184 Filed: 10/01/21 Page 2 of 63 PageID #:2035




2.       Gamon International, Inc. is a corporation organized under the laws of the State of Illinois
         with a principal place of business at 2303 S Michigan Ave. Suite 203, Chicago IL 60616.
         Gamon International, Inc. is in the business of, among other things, the design and
         production of specialty packaging and point-of-purchase displays.

ANSWER: Campbell is without knowledge or information sufficient to form a belief as to the

truth of the allegations contained in Paragraph 2 and, therefore, denies same.

3.       Campbell’s is a corporation organized under the laws of the State of New Jersey with a
         principal place of business at 1 Campbell Place, Camden, New Jersey 08103. Campbell’s
         is in the business of, among other things, the production and sale of foods and beverages
         sold using brands that include Pepperidge Farm, V8, Campbell’s brand, Prego, and Royal
         Dansk.

ANSWER: Admitted that Campbell is a corporation organized under the laws of the State of New

Jersey with its principal place of business at 1 Campbell Place, Camden, New Jersey, and that

through its subsidiaries, it is in the business of the production and sale of foods and beverages,

sold using brands including those listed in paragraph 3 of the Complaint, except that Campbell no

longer manufactures or sells Royal Dansk brand products after a divestiture on September 23,

2019.

4.       Trinity is a limited liability company organized under the laws of the State of New Jersey
         with a principal place of business at 60 Leonard Street, Metuchen, New Jersey 08840.
         Trinity is in the business of, among other things, the design and production of specialty
         packaging and point-of-purchase displays.

ANSWER: Campbell is without knowledge or information sufficient to form a belief as to the

truth of the allegations contained in Paragraph 4 and, therefore, denies same.

5.       Meijer is a corporation organized under the laws of the State of Michigan with a principal
         place of business at 2929 Walker Avenue North West, Grand Rapids, Michigan 49544.
         Meijer is in the business of, among other things, the distribution and sale of foods,
         beverages, and household goods.

ANSWER: Campbell is without knowledge or information sufficient to form a belief as to the

truth of the allegations contained in Paragraph 5 and, therefore, denies same.




                                                  2
     Case: 1:15-cv-08940 Document #: 184 Filed: 10/01/21 Page 3 of 63 PageID #:2036




6.       Kroger is a corporation organized under the laws of the State of Ohio with a principal
         place of business as 1014 Vine Street, Cincinnati, Ohio 45202. Kroger is in the business
         of, among other things, the distribution and sale of foods, beverages, and household goods.

ANSWER: Campbell is without knowledge or information sufficient to form a belief as to the

truth of the allegations contained in Paragraph 6 and, therefore, denies same.

7.       Gamon competes with Trinity in the product display industry. Gamon is a former supplier
         of display racks to Campbell’s, and Meijer and Kroger both use infringing display racks
         to sell, inter alia, Campbell’s soup products.

ANSWER: Campbell is without knowledge or information sufficient to form a belief as to the

truth of the allegation that Gamon competes with Trinity in the product display industry and

therefore denies said allegation; Campbell admits that Gamon is a former supplier of display racks

to Campbell; Campbell admits that, in some circumstances, Meijer uses Trinity display racks in

connection with its sale of Campbell’s soup; Campbell admits that, in some circumstances, Kroger

used Trinity display racks in connection with its sale of Campbell’s soup; and denies the remaining

allegations contained in Paragraph 7.

                                        PATENTS-IN-SUIT

8.       On September 9, 2014, the USPTO duly and legally issued U.S. Utility Patent No.
         8,827,111 (the “‘111 Patent”) titled “Multi-chute Gravity Feed Dispenser Display.”
         Gamon Plus, Inc. ("Gamon Plus") has owned the '111 Patent since prior to October 8,
         2015 and has standing to sue for infringement of the '111 Patent in its own name alone.
         Gamon International, Inc. (“Gamon International”) has been the exclusive licensee of the
         ‘111 Patent since prior to October 8, 2015 and has standing to sue for infringement of the
         ‘111 Patent jointly with Gamon Plus. A copy of the ‘111 Patent is attached as Exhibit A.
         On July 30, 2015 a Supplemental Examination Certificate was issued for the ‘111 Patent.
         A copy of the Supplemental Examination Certificate is attached as Exhibit B.

ANSWER: Campbell admits that U.S. Patent No. 8,827,111 (“the ‘111 patent”) is entitled “Multi-

Chute Gravity Feed Dispenser Display,” that the ‘111 patent was issued by the United States Patent

and Trademark Office (“USPTO”) on September 9, 2014, that Gamon Plus, Inc. is listed on the

face of the ‘111 patent as the assignee of the ‘111 patent, that a copy of the ‘111 patent was attached

to the Complaint as Exhibit A, that, on July 30, 2015, a Supplemental Examination Certificate was

                                                  3
     Case: 1:15-cv-08940 Document #: 184 Filed: 10/01/21 Page 4 of 63 PageID #:2037




issued for the ‘111 patent, and that a copy of the July 30, 2015 Supplemental Examination

Certificate was attached to the Complaint as Exhibit B. Campbell is without knowledge or

information sufficient to form a belief as to the truth of the remaining allegations contained in

Paragraph 8 and, therefore, denies same. To the extent the allegations in Paragraph 8 contain legal

conclusions, no response is required.

9.       On September 29, 2015 the USPTO duly and legally issued U.S. Utility Patent No.
         9,144,326 (the “‘326 Patent”) titled “Multi-chute Gravity Feed Dispenser Display.”
         Gamon Plus also has owned the ‘326 Patent since prior to October 8, 2015 and has
         standing to sue for infringement of the ‘326 Patent in its own name alone. Gamon
         International also has been the exclusive licensee of the ‘326 Patent since prior to October
         8, 2015 and has standing to sue for infringement of the ‘326 Patent jointly with Gamon
         Plus.. A copy of the ‘326 Patent is attached as Exhibit C.

ANSWER: Campbell admits that U.S. Patent No. 9,144,326 (“the ‘326 patent”) is entitled “Multi-

Chute Gravity Feed Dispenser Display,” that the ‘326 patent was issued by the USPTO on

September 29, 2015, that Gamon Plus, Inc. is listed on the face of the ‘326 patent as the assignee

of the ‘326 patent, and that a copy of the ‘326 patent was attached to the Complaint as Exhibit C.

Campbell is without knowledge or information sufficient to form a belief as to the truth of the

remaining allegations contained in Paragraph 9 and, therefore, denies same. To the extent the

allegations in Paragraph 9 contain legal conclusions, no response is required.

10.      On May 30, 2010, the USPTO duly and legally issued U.S. Design Patent No. D612,646
         (the “‘646 Patent”) titled “Gravity Feed Dispenser Display.” Gamon Plus also has owned
         the ‘646 Patent since prior to October 8, 2015 and has standing to sue for infringement of
         the ‘646 Patent in its own name alone. Gamon International also has been the exclusive
         licensee of the ‘646 Patent since prior to October 8, 2015 and has standing to sue for
         infringement of the ‘646 Patent jointly with Gamon Plus. A copy of the ‘646 Patent is
         attached as Exhibit E.

ANSWER: Campbell admits that U.S. Patent No. D612,646 (“the ‘646 patent”) is entitled

“Gravity Feed Dispenser Display,” that Gamon Plus, Inc. is listed on the face of the ‘646 patent as

the assignee of the ‘646 patent, and that a copy of the ‘646 patent was attached to the Complaint

as Exhibit E. Campbell is without knowledge or information sufficient to form a belief as to the

                                                  4
  Case: 1:15-cv-08940 Document #: 184 Filed: 10/01/21 Page 5 of 63 PageID #:2038




truth of the remaining allegations contained in Paragraph 10 and, therefore, denies same. To the

extent the allegations in Paragraph 10 contain legal conclusions, no response is required.

11.     On August 17, 2010, the USPTO duly and legally issued U.S. Design Patent No. D621,645
        (the “‘645 Patent”) titled “Gravity Feed Dispenser Display.” Gamon Plus also has owned
        the ‘645 Patent since prior to October 8, 2015 and has standing to sue for infringement of
        the ‘645 Patent in its own name alone. Gamon International also has been the exclusive
        licensee of the ‘645 Patent since prior to October 8, 2015 and has standing to sue for
        infringement of the ‘645 Patent jointly with Gamon Plus. A copy of the ‘645 Patent is
        attached as Exhibit G.

ANSWER: Campbell admits that U.S. Patent No. D621,645 (“the ‘645 patent”) is entitled

“Gravity Feed Dispenser Display,” that the ‘645 patent was issued by the USPTO on

August 17, 2010, that Gamon Plus, Inc. is listed on the face of the ‘645 patent as the assignee of

the ‘645 patent, and that a copy of the ‘645 patent was attached to the Complaint as Exhibit G..

Campbell is without knowledge or information sufficient to form a belief as to the truth of the

allegations contained in Paragraph 11 and, therefore, denies same. To the extent the allegations in

Paragraph 11 contain legal conclusions, no response is required.

                                 JURISDICTION AND VENUE

12.     This action arises under the Patent Laws of the United States, 35 U.S.C. § 1 et seq. This
        Court has exclusive jurisdiction over the subject matter of this case under
        28 U.S.C. §§ 1331 and 1338(a).

ANSWER: Admitted.

13.     The Court has personal jurisdiction over Campbell’s because, among other things,
        Campbell’s regularly conducts business in Illinois and in this judicial district. Campbell’s
        is specifically offering soup products using infringing display racks at retail stores in
        Illinois and this judicial district.

ANSWER: Campbell denies the allegations in Paragraph 13, but consents to personal jurisdiction

in this Court.

14.     The Court has personal jurisdiction over Trinity because, among other things, Trinity
        regularly conducts business in Illinois and in this judicial district. Trinity is specifically
        supplying infringing display racks for retail stores in Illinois and this judicial district.


                                                  5
  Case: 1:15-cv-08940 Document #: 184 Filed: 10/01/21 Page 6 of 63 PageID #:2039




ANSWER: Campbell is without knowledge or information sufficient to form a belief as to the

truth of the allegations contained in Paragraph 14 and, therefore, denies same.

15.    The Court has personal jurisdiction over Meijer because, among other things, Meijer
       regularly conducts business in Illinois and in this judicial district. In this judicial district,
       Meijer operates retail stores at 1301 Meijer Drive, Rolling Meadows, Illinois, 60008, and
       130 South Gary Avenue, Bloomingdale, Illinois, 60108. Meijer is specifically offering soup
       products using infringing display racks at their retail stores in Illinois and this judicial
       district.

ANSWER: Campbell is without knowledge or information sufficient to form a belief as to the

truth of the allegations contained in Paragraph 15 and, therefore, denies same.

16.    The Court has personal jurisdiction over Kroger because, among other things, Kroger
       regularly conducts business in Illinois and in this judicial district. In this judicial district,
       Kroger operates retail stores at 4620 South Damen Avenue, Chicago, Illinois 60609,
       2701 Columbus Street, Ottawa, Illinois 61350, and 301 East McKinley Road, Ottawa,
       Illinois 61350. Kroger is specifically offering soup products using infringing display racks
       at their retail stores in Illinois and this judicial district.

ANSWER: Campbell is without knowledge or information sufficient to form a belief as to the

truth of the allegations contained in Paragraph 16 and, therefore, denies same.

17.    Joinder of the Defendants is proper under 35 U.S.C. § 299 because, inter alia, all of the
       Defendants participate in the production of the product line of dispensers identified in
       Exhibit H and referred to as the “IQ Maximizer Group 1 Dispenser” based on the shape
       of the lower product stop. The hard plastic portions and Campbell’s themed labeling of the
       IQ Maximizer Group 1 Dispenser appears to be created by Campbell’s and Trinity while
       Kroger and Meijer both reconfigure, modify, and rebrand the IQ Maximizer Group 1
       Dispensers to sell their private label lines of soup cans (Exhibit H pages 7 and 6,
       respectively).

ANSWER: Campbell denies the allegations in Paragraph 17, but consents to joinder under

35 U.S.C. § 299.

18.    Venue is proper in this judicial district under 28 U.S.C. §§ 1391(b)-(c) and 1400(b).

ANSWER: Denied.

                                     SOUP CAN DISPLAYS

19.    The IQ Maximizer Group 1 Dispenser shown in Exhibit H has dispensed (and continues to
       dispense) in the United States the following brand products: Campbell’s brand Healthy

                                                  6
  Case: 1:15-cv-08940 Document #: 184 Filed: 10/01/21 Page 7 of 63 PageID #:2040




       Request® Homestyle Chicken Noodle Soup, Campbell’s brand Healthy Request® Tomato
       Soup, Campbell’s brand Healthy Request® Chicken Noodle Soup, Campbell’s brand
       Chicken with Rice Soup, Campbell’s brand Healthy Request® Bean with Bacon Soup,
       Campbell’s brand Split Pea with Ham & Bacon Soup, Campbell’s brand 25% Less Sodium
       Chicken Noodle Soup, Campbell’s brand Healthy Request® Cream of Chicken Soup, and
       Campbell’s brand Healthy Request® Vegetable Beef Soup.

ANSWER: Campbell admits that at times during the periods covered by the Complaint the

Group 1 Dispensers may have dispensed in the United States some or all of the products listed in

Paragraph 19, but is without knowledge or information sufficient to form a belief as to the truth of

the remaining allegations contained in Paragraph 19, and therefore denies same.

20.    The dispenser shown in Exhibit I (referred to as the “IQ Maximizer Group 2 Dispenser”)
       has dispensed (and continues to dispense) in the United States the following brand
       products: Campbell’s brand Chunky Beef with Country Vegetables, Campbell’s brand
       Homestyle Light Chicken and Dumpling Soup, Campbell’s brand Homestyle Healthy
       Request® Savory Chicken with Brown Rice Soup, Campbell’s brand Chunk Hearty
       Cheeseburger, Campbell’s brand Homestyle Creamy Chicken Alfredo Soup, and
       Campbell’s brand Homestyle Healthy Request® Tomato with Basil Soup.

ANSWER: Campbell admits that at times during the periods covered by the Complaint the Group

2 Dispensers may have dispensed in the United States some or all of the products listed in

Paragraph 20, but is without knowledge or information sufficient to form a belief as to the truth of

the remaining allegations contained in Paragraph 20, and therefore denies same.

21.    The dispenser shown in Exhibit J (referred to as the “IQ Maximizer Group 3 Dispenser”)
       has dispensed (and continues to dispense) in the United States the following brand
       products: Campbell’s brand Asian-Style Chicken Noodle, Campbell’s Brand Great for
       Cooking Cream of Chicken and Mushroom Soup, Campbell’s Brand Great for Cooking
       Cream of Chicken with Herbs Soup, Campbell’s Brand Great for Cooking Cream of Onion
       Soup, Campbell’s brand Fun Favorites Mega Noodle Soup, Campbell’s brand Fun
       Favorites Avengers™ Fun Shaped Pasta Soup, and Meijer brand Health Tomato
       Condensed Soup.

ANSWER: Campbell admits that at times during the periods covered by the Complaint the Group

3 Dispensers may have dispensed in the United States some or all of the products listed in

Paragraph 21, but is without knowledge or information sufficient to form a belief as to the truth of

the remaining allegations contained in Paragraph 21, and therefore denies same.

                                                 7
  Case: 1:15-cv-08940 Document #: 184 Filed: 10/01/21 Page 8 of 63 PageID #:2041




22.     The dispenser shown in Exhibit K (referred to as the “IQ Maximizer Group 4 Dispenser”)
        has dispensed (and continues to dispense) in the United States the following brand
        products: Campbell’s brand Soup on the Go Classic Tomato Soup, Campbell’s brand Soup
        on the Go Healthy Request® Classic Tomato Soup, Campbell’s brand Soup on the Go
        Healthy Request® Chicken w/Mini Noodles Soup, and Campbell’s brand Soup on the Go
        Cheesy Potato with Bacon Flavor Soup.

ANSWER: Campbell admits that at times during the periods covered by the Complaint the Group

4 Dispensers may have dispensed in the United States some or all of the products listed in

Paragraph 22, but is without knowledge or information sufficient to form a belief as to the truth of

the remaining allegations contained in Paragraph 22, and therefore denies same.

      COUNT I – CAMPBELL’S ALLEGED INFRINGEMENT OF THE ‘111 PATENT

23.     Gamon repeats and re-alleges the allegations in the preceding paragraphs as though fully
        set forth herein.

ANSWER: Campbell incorporates by reference paragraphs 1-22 of this Amended Answer,

Affirmative Defenses and Counterclaims of Defendant Campbell Soup Company as if fully set

forth herein.

24.     Campbell’s has infringed and continue to infringe claims of the ‘111 Patent within the
        meaning of 35 U.S.C. § 271(a) through the foregoing activities including, without
        limitation, using, importing, offering for sale and/or selling the IQ Maximizer Group 1
        Dispenser, the IQ Maximizer Group 3 Dispenser, the IQ Maximizer Group 2 Dispenser,
        and the IQ Maximizer Group 4 Dispenser in the United States.

ANSWER: The allegations set forth in paragraph 24 are conclusions of law that need not be

admitted or denied, and that are accordingly deemed denied. By way of further response, Campbell

denies that it infringes any valid and enforceable claim of the ‘111 patent.

25.     Campbell’s has infringed at least claims 17-35 of the ‘111 Patent within the meaning of 35
        U.S.C. § 271(a) by making, using, offering to sell, and/or selling the IQ Maximizer Group
        1 Dispenser in the United States.

ANSWER: The allegations set forth in paragraph 25 are conclusions of law that need not be

admitted or denied, and that are accordingly deemed denied. By way of further response, Campbell

denies that it infringes any valid and enforceable claim of the ‘111 patent.

                                                 8
  Case: 1:15-cv-08940 Document #: 184 Filed: 10/01/21 Page 9 of 63 PageID #:2042




26.    Campbell’s has infringed at least claims 17-20, 22-31, and 33-35 of the ‘111 Patent within
       the meaning of 35 U.S.C. § 271(a) by making, using, offering to sell, and/or selling the IQ
       Maximizer Group 3 Dispenser in the United States.

ANSWER: The allegations set forth in paragraph 26 are conclusions of law that need not be

admitted or denied, and that are accordingly deemed denied. By way of further response, Campbell

denies that it infringes any valid and enforceable claim of the ‘111 patent.

27.    Campbell’s has infringed at least claims 1, 2, 4-5, 7-10, 12-20, 22, 24-28, and 33- 35 of
       the ‘111 Patent within the meaning of 35 U.S.C. § 271(a) by making, using, offering to sell,
       and/or selling the IQ Maximizer Group 2 Dispenser in the United States.

ANSWER: The allegations set forth in paragraph 27 are conclusions of law that need not be

admitted or denied, and that are accordingly deemed denied. By way of further response, Campbell

denies that it infringes any valid and enforceable claim of the ‘111 patent.

28.    Campbell’s has infringed at least claims 17-20, 22-31, and 33-35 of the ‘111 Patent within
       the meaning of 35 U.S.C. § 271(a) by making, using, offering to sell, and/or selling the IQ
       Maximizer Group 4 Dispenser in the United States.

ANSWER: The allegations set forth in paragraph 28 are conclusions of law that need not be

admitted or denied, and that are accordingly deemed denied. By way of further response, Campbell

denies that it infringes any valid and enforceable claim of the ‘111 patent.

29.    Campbell’s has also indirectly infringed and continues to indirectly infringe claims of the
       ‘111 Patent under 35 U.S.C. § 271(b) by knowingly and actively inducing infringement of
       those claims. Campbell’s has knowingly and actively induced infringement of the ‘111
       Patent, through the foregoing activities including, without limitation, importing, offering
       to sell and selling the IQ Maximizer Group 1 Dispenser, the IQ Maximizer Group 3
       Dispenser, the IQ Maximizer Group 2 Dispenser, and the IQ Maximizer Group 4 Dispenser
       in the United States, and by instructing, aiding, assisting and encouraging the offer for
       sale, sale and use of the IQ Maximizer Group 1 Dispenser, the IQ Maximizer Group 3
       Dispenser, the IQ Maximizer Group 2 Dispenser, and the IQ Maximizer Group 4 Dispenser
       in a manner that infringes the ‘111 Patent. The direct infringers that are being induced by
       Campbell’s include, without limitation, its suppliers including Trinity, and end-users
       including Meijer and Kroger that make, offer for sale, sell and/or use the IQ Maximizer
       Group 1 Dispenser, the IQ Maximizer Group 3 Dispenser, the IQ Maximizer Group 2
       Dispenser, and the IQ Maximizer Group 4 Dispenser in the United States.




                                                 9
 Case: 1:15-cv-08940 Document #: 184 Filed: 10/01/21 Page 10 of 63 PageID #:2043




ANSWER: The allegations set forth in paragraph 29 are conclusions of law that need not be

admitted or denied, and that are accordingly deemed denied. By way of further response, Campbell

denies that it infringes any valid and enforceable claim of the ‘111 patent.

30.    Campbell’s has infringed at least claims 17-35 of the ‘111 Patent within the meaning of 35
       U.S.C. § 271(b) by inducing Meijer to use the IQ Maximizer Group 1 Dispenser in the
       United States.

ANSWER: The allegations set forth in paragraph 30 are conclusions of law that need not be

admitted or denied, and that are accordingly deemed denied. By way of further response, Campbell

denies that it infringes any valid and enforceable claim of the ‘111 patent.

31.    Campbell’s has infringed at least claims 17-20, 22-31, and 33-35 of the ‘111 Patent within
       the meaning of 35 U.S.C. § 271(b) by inducing Meijer to use the IQ Maximizer Group 3
       Dispenser in the United States.

ANSWER: The allegations set forth in paragraph 31 are conclusions of law that need not be

admitted or denied, and that are accordingly deemed denied. By way of further response, Campbell

denies that it infringes any valid and enforceable claim of the ‘111 patent.

32.    Campbell’s has infringed at least claims 17-20, 22-31, and 33-35 of the ‘111 Patent within
       the meaning of 35 U.S.C. § 271(b) by inducing Meijer to use the IQ Maximizer Group 4
       Dispenser in the United States.

ANSWER: The allegations set forth in paragraph 32 are conclusions of law that need not be

admitted or denied, and that are accordingly deemed denied. By way of further response, Campbell

denies that it infringes any valid and enforceable claim of the ‘111 patent.

33.    Campbell’s has infringed at least claims 17-35 of the ‘111 Patent within the meaning of
       35 U.S.C. § 271(b) by inducing Kroger to use the IQ Maximizer Group 1 Dispenser in the
       United States.

ANSWER: The allegations set forth in paragraph 33 are conclusions of law that need not be

admitted or denied, and that are accordingly deemed denied. By way of further response, Campbell

denies that it infringes any valid and enforceable claim of the ‘111 patent.



                                                10
 Case: 1:15-cv-08940 Document #: 184 Filed: 10/01/21 Page 11 of 63 PageID #:2044




34.    Campbell’s has infringed at least claims 1, 2, 4-5, 7-10, 12-20, 22, 24-28, and 33- 35 of
       the ‘111 Patent within the meaning of 35 U.S.C. § 271(b) by inducing Kroger to use the IQ
       Maximizer Group 2 Dispenser in the United States.

ANSWER: The allegations set forth in paragraph 34 are conclusions of law that need not be

admitted or denied, and that are accordingly deemed denied. By way of further response, Campbell

denies that it infringes any valid and enforceable claim of the ‘111 patent.

35.    Campbell’s has infringed at least claims 8-10 and 12-16 of the ‘111 Patent within the
       meaning of 35 U.S.C. § 271(b) by inducing Trinity to make the IQ Maximizer Group 2
       Dispenser in the United States.

ANSWER: The allegations set forth in paragraph 35 are conclusions of law that need not be

admitted or denied, and that are accordingly deemed denied. By way of further response, Campbell

denies that it infringes any valid and enforceable claim of the ‘111 patent.

36.    Campbell’s has also indirectly infringed and continues to indirectly infringe claims of the
       ‘111 Patent under 35 U.S.C. § 271(c) through the foregoing activities including, among
       other things, importing, offering for sale and selling the IQ Maximizer Group 1 Dispenser,
       the IQ Maximizer Group 3 Dispenser, the IQ Maximizer Group 2 Dispenser, and the IQ
       Maximizer Group 4 Dispenser and by instructing, aiding, assisting, authorizing,
       advertising, marketing, promoting, providing for and/or encouraging the offer for sale,
       sale and use of the IQ Maximizer Group 1 Dispenser, the IQ Maximizer Group 3 Dispenser,
       the IQ Maximizer Group 2 Dispenser, and the IQ Maximizer Group 4 Dispenser, which
       constitute a material part of the patented invention of the ‘111 Patent, which Campbell’s
       knew are especially made or adapted for use in an infringement of the ‘111 Patent, and
       which are not a staple article of commerce suitable for substantial non-infringing use. The
       direct infringers for Campbell’s contributory infringement under 35 U.S.C. § 271(c)
       include, without limitation, Campbell’s end-users including Kroger and Meijer that use
       the IQ Maximizer Group 1 Dispenser, the IQ Maximizer Group 3 Dispenser, the IQ
       Maximizer Group 2 Dispenser, and/or the IQ Maximizer Group 4 Dispenser.

ANSWER: The allegations set forth in paragraph 36 are conclusions of law that need not be

admitted or denied, and that are accordingly deemed denied. By way of further response, Campbell

denies that it infringes any valid and enforceable claim of the ‘111 patent.

37.    Campbell’s has contributorily infringed at least claims 17-35 of the ‘111 Patent within the
       meaning of 35 U.S.C. § 271(c) by selling Meijer the IQ Maximizer Group 1 Dispenser in
       the United States.



                                                11
 Case: 1:15-cv-08940 Document #: 184 Filed: 10/01/21 Page 12 of 63 PageID #:2045




ANSWER: The allegations set forth in paragraph 37 are conclusions of law that need not be

admitted or denied, and that are accordingly deemed denied. By way of further response, Campbell

denies that it infringes any valid and enforceable claim of the ‘111 patent.

38.    Campbell’s has contributorily infringed at least claims 17-20, 22-31, and 33-35 of the ‘111
       Patent within the meaning of 35 U.S.C. § 271(c) by selling Meijer the IQ Maximizer Group
       3 Dispenser in the United States.

ANSWER: The allegations set forth in paragraph 38 are conclusions of law that need not be

admitted or denied, and that are accordingly deemed denied. By way of further response, Campbell

denies that it infringes any valid and enforceable claim of the ‘111 patent.

39.    Campbell’s has contributorily infringed at least claims 17-20, 22-31, and 33-35 of the ‘111
       Patent within the meaning of 35 U.S.C. § 271(c) by selling Meijer the IQ Maximizer Group
       4 Dispenser in the United States.

ANSWER: The allegations set forth in paragraph 39 are conclusions of law that need not be

admitted or denied, and that are accordingly deemed denied. By way of further response, Campbell

denies that it infringes any valid and enforceable claim of the ‘111 patent.

40.    Campbell’s has contributorily infringed at least claims 17-35 of the ‘111 Patent within the
       meaning of 35 U.S.C. § 271(c) by selling Kroger the IQ Maximizer Group 1 Dispenser in
       the United States.

ANSWER: The allegations set forth in paragraph 40 are conclusions of law that need not be

admitted or denied, and that are accordingly deemed denied. By way of further response, Campbell

denies that it infringes any valid and enforceable claim of the ‘111 patent.

41.    Campbell’s has contributorily infringed at least claims 1, 2, 4-5, 7-10, 12-20, 22, 24-28,
       and 33-35 of the ‘111 Patent within the meaning of 35 U.S.C. § 271(c) by selling Kroger
       the IQ Maximizer Group 2 Dispenser in the United States.

ANSWER: The allegations set forth in paragraph 41 are conclusions of law that need not be

admitted or denied, and that are accordingly deemed denied. By way of further response, Campbell

denies that it infringes any valid and enforceable claim of the ‘111 patent.

      COUNT II – TRINITY’S ALLEGED INFRINGEMENT OF THE ‘111 PATENT

                                                12
 Case: 1:15-cv-08940 Document #: 184 Filed: 10/01/21 Page 13 of 63 PageID #:2046




42.    Gamon repeats and re-alleges the allegations in the preceding paragraphs as though fully
       set forth herein.

ANSWER: Campbell incorporates by reference paragraphs 1-41 of this Amended Answer,

Affirmative Defenses and Counterclaims of Defendant Campbell Soup Company as if fully set

forth herein.

43.    Trinity has infringed and continues to infringe claims of the ‘111 Patent within the meaning
       of 35 U.S.C. § 271(a) through the foregoing activities including, without limitation, using,
       importing, offering for sale and/or selling the IQ Maximizer Group 2 Dispenser in the
       United States.

ANSWER: The allegations set forth in paragraph 43 are conclusions of law that need not be

admitted or denied, and that are accordingly deemed denied. By way of further response, Campbell

is without sufficient information as to the allegations made against Trinity in paragraph 43, as

those allegations are not directed to Campbell, and on that basis denies them.

44.    Trinity has infringed at least claims 8-10 and 12-16 of the ‘111 Patent within the meaning
       of 35 U.S.C. § 271(a) by making, using, offering to sell, and/or selling the IQ Maximizer
       Group 2 Dispenser in the United States.

ANSWER: The allegations set forth in paragraph 44 are conclusions of law that need not be

admitted or denied, and that are accordingly deemed denied. By way of further response, Campbell

is without sufficient information as to the allegations made against Trinity in paragraph 44, as

those allegations are not directed to Campbell, and on that basis denies them.

45.    Trinity has also indirectly infringed and continues to indirectly infringe claims of the ‘111
       Patent under 35 U.S.C. § 271(b) by knowingly and actively inducing infringement of those
       claims. Trinity has knowingly and actively induced infringement of the ‘111 Patent,
       through the foregoing activities including, without limitation, importing, offering to sell
       and selling the IQ Maximizer Group 1 Dispenser, the IQ Maximizer Group 3 Dispenser,
       the IQ Maximizer Group 2 Dispenser, and the IQ Maximizer Group 4 Dispenser in the
       United States, and by instructing, aiding, assisting and encouraging the offer for sale, sale
       and use of the IQ Maximizer Group 1 Dispenser, the IQ Maximizer Group 3 Dispenser,
       the IQ Maximizer Group 2 Dispenser, and the IQ Maximizer Group 4 Dispenser in a
       manner that infringes the ‘111 Patent. The direct infringers that are being induced by
       Trinity include, without limitation, its end-users including Meijer and Kroger that make,
       offer for sale, sell and/or use the IQ Maximizer Group 1 Dispenser, the IQ Maximizer


                                                13
 Case: 1:15-cv-08940 Document #: 184 Filed: 10/01/21 Page 14 of 63 PageID #:2047




       Group 3 Dispenser, the IQ Maximizer Group 2 Dispenser, and the IQ Maximizer Group 4
       Dispenser in the United States.

ANSWER: The allegations set forth in paragraph 45 are conclusions of law that need not be

admitted or denied, and that are accordingly deemed denied. By way of further response, Campbell

is without sufficient information as to the allegations made against Trinity in paragraph 45, as

those allegations are not directed to Campbell, and on that basis denies them.

46.    Trinity has infringed at least claims 17-35 of the ‘111 Patent within the meaning of
       35 U.S.C. § 271(b) by inducing Meijer to use the IQ Maximizer Group 1 Dispenser in the
       United States.

ANSWER: The allegations set forth in paragraph 46 are conclusions of law that need not be

admitted or denied, and that are accordingly deemed denied. By way of further response, Campbell

is without sufficient information as to the allegations made against Trinity in paragraph 46, as

those allegations are not directed to Campbell, and on that basis denies them.

47.    Trinity has infringed at least claims 17-20, 22-31, and 33-35 of the ‘111 Patent within the
       meaning of 35 U.S.C. § 271(b) by inducing Meijer to use the IQ Maximizer Group 3
       Dispenser in the United States.

ANSWER: The allegations set forth in paragraph 47 are conclusions of law that need not be

admitted or denied, and that are accordingly deemed denied. By way of further response, Campbell

is without sufficient information as to the allegations made against Trinity in paragraph 47, as

those allegations are not directed to Campbell, and on that basis denies them.

48.    Trinity has infringed at least claims 17-20, 22-31, and 33-35 of the ‘111 Patent within the
       meaning of 35 U.S.C. § 271(b) by inducing Meijer to use the IQ Maximizer Group 4
       Dispenser in the United States.

ANSWER: The allegations set forth in paragraph 48 are conclusions of law that need not be

admitted or denied, and that are accordingly deemed denied. By way of further response, Campbell

is without sufficient information as to the allegations made against Trinity in paragraph 48, as

those allegations are not directed to Campbell, and on that basis denies them.


                                                14
 Case: 1:15-cv-08940 Document #: 184 Filed: 10/01/21 Page 15 of 63 PageID #:2048




49.    Trinity has infringed at least claims 17-35 of the ‘111 Patent within the meaning of
       35 U.S.C. § 271(b) by inducing Kroger to use the IQ Maximizer Group 1 Dispenser in the
       United States.

ANSWER: The allegations set forth in paragraph 49 are conclusions of law that need not be

admitted or denied, and that are accordingly deemed denied. By way of further response, Campbell

is without sufficient information as to the allegations made against Trinity in paragraph 49, as

those allegations are not directed to Campbell, and on that basis denies them.

50.    Trinity has infringed at least claims 1, 2, 4-5, 7-10, 12-20, 22, 24-28, and 33-35 of the ‘111
       Patent within the meaning of 35 U.S.C. § 271(b) by inducing Kroger to use the IQ
       Maximizer Group 2 Dispenser in the United States.

ANSWER: The allegations set forth in paragraph 50 are conclusions of law that need not be

admitted or denied, and that are accordingly deemed denied. By way of further response, Campbell

is without sufficient information as to the allegations made against Trinity in paragraph 50, as

those allegations are not directed to Campbell, and on that basis denies them.

51.    Trinity has also indirectly infringed and continues to indirectly infringe claims of the ‘111
       Patent under 35 U.S.C. § 271(c) through the foregoing activities including, among other
       things, importing, offering for sale and selling the IQ Maximizer Group 1 Dispenser, the
       IQ Maximizer Group 3 Dispenser, the IQ Maximizer Group 2 Dispenser, and the IQ
       Maximizer Group 4 Dispenser and by instructing, aiding, assisting, authorizing,
       advertising, marketing, promoting, providing for and/or encouraging the offer for sale,
       sale and use of the IQ Maximizer Group 1 Dispenser, the IQ Maximizer Group 3 Dispenser,
       the IQ Maximizer Group 2 Dispenser, and the IQ Maximizer Group 4 Dispenser, which
       constitute a material part of the patented invention of the ‘111 Patent, which Trinity knew
       are especially made or adapted for use in an infringement of the ‘111 Patent, and which
       are not a staple article of commerce suitable for substantial non-infringing use. The direct
       infringers for Trinity’s contributory infringement under 35 U.S.C. § 271(c) include,
       without limitation, Trinity’s end-users including Kroger and Meijer that use the IQ
       Maximizer Group 1 Dispenser, the IQ Maximizer Group 3 Dispenser, the IQ Maximizer
       Group 2 Dispenser, and/or the IQ Maximizer Group 4 Dispenser in the United States.

ANSWER: The allegations set forth in paragraph 51 are conclusions of law that need not be

admitted or denied, and that are accordingly deemed denied. By way of further response, Campbell

is without sufficient information as to the allegations made against Trinity in paragraph 51, as

those allegations are not directed to Campbell, and on that basis denies them.

                                                15
 Case: 1:15-cv-08940 Document #: 184 Filed: 10/01/21 Page 16 of 63 PageID #:2049




52.    Trinity has contributorily infringed at least claims 17-35 of the ‘111 Patent within the
       meaning of 35 U.S.C. § 271(c) by selling Meijer the IQ Maximizer Group 1 Dispenser in
       the United States.

ANSWER: The allegations set forth in paragraph 52 are conclusions of law that need not be

admitted or denied, and that are accordingly deemed denied. By way of further response, Campbell

is without sufficient information as to the allegations made against Trinity in paragraph 52, as

those allegations are not directed to Campbell, and on that basis denies them.

53.    Trinity has contributorily infringed at least claims 17-20, 22-31, and 33-35 of the ‘111
       Patent within the meaning of 35 U.S.C. § 271(c) by selling Meijer the IQ Maximizer Group
       3 Dispenser in the United States.

ANSWER: The allegations set forth in paragraph 53 are conclusions of law that need not be

admitted or denied, and that are accordingly deemed denied. By way of further response, Campbell

is without sufficient information as to the allegations made against Trinity in paragraph 53, as

those allegations are not directed to Campbell, and on that basis denies them.

54.    Trinity has contributorily infringed at least claims 17-20, 22-31, and 33-35 of the ‘111
       Patent within the meaning of 35 U.S.C. § 271(c) by selling Meijer the IQ Maximizer Group
       4 Dispenser in the United States.

ANSWER: The allegations set forth in paragraph 54 are conclusions of law that need not be

admitted or denied, and that are accordingly deemed denied. By way of further response, Campbell

is without sufficient information as to the allegations made against Trinity in paragraph 54, as

those allegations are not directed to Campbell, and on that basis denies them.

55.    Trinity has contributorily infringed at least claims 17-35 of the ‘111 Patent within the
       meaning of 35 U.S.C. § 271(c) by selling Kroger the IQ Maximizer Group 1 Dispenser in
       the United States.

ANSWER: The allegations set forth in paragraph 55 are conclusions of law that need not be

admitted or denied, and that are accordingly deemed denied. By way of further response, Campbell

is without sufficient information as to the allegations made against Trinity in paragraph 55, as

those allegations are not directed to Campbell, and on that basis denies them.

                                                16
 Case: 1:15-cv-08940 Document #: 184 Filed: 10/01/21 Page 17 of 63 PageID #:2050




56.    Trinity has contributorily infringed at least claims 1, 2, 4-5, 7-10, 12-20, 22, 24- 28, and
       33-35 of the ‘111 Patent within the meaning of 35 U.S.C. § 271(c) by selling Kroger the
       IQ Maximizer Group 2 Dispenser in the United States.

ANSWER: The allegations set forth in paragraph 56 are conclusions of law that need not be

admitted or denied, and that are accordingly deemed denied. By way of further response, Campbell

is without sufficient information as to the allegations made against Trinity in paragraph 56, as

those allegations are not directed to Campbell, and on that basis denies them.

      COUNT III – KROGER’S ALLEGED INFRINGEMENT OF THE ‘111 PATENT

57.    Gamon repeats and re-alleges the allegations in the preceding paragraphs as though fully
       set forth herein.

ANSWER: Campbell incorporates by reference paragraphs 1-56 of this Amended Answer,

Affirmative Defenses and Counterclaims of Defendant Campbell Soup Company as if fully set

forth herein.

58.    Kroger has infringed and continues to infringe claims of the ‘111 Patent within the
       meaning of 35 U.S.C. § 271(a) through the foregoing activities including, without
       limitation, using the IQ Maximizer Group 1 Dispenser and the IQ Maximizer Group 2
       Dispenser in the United States.

ANSWER: The allegations set forth in paragraph 58 are conclusions of law that need not be

admitted or denied, and that are accordingly deemed denied. By way of further response, Campbell

is without sufficient information as to the allegations made against Kroger in paragraph 58, as

those allegations are not directed to Campbell, and on that basis denies them.

59.    Kroger has infringed at least claims 17-35 of the ‘111 Patent within the meaning of
       35 U.S.C. § 271(a) by making and/or using the IQ Maximizer Group 1 Dispenser in the
       United States.

ANSWER: The allegations set forth in paragraph 59 are conclusions of law that need not be

admitted or denied, and that are accordingly deemed denied. By way of further response, Campbell

is without sufficient information as to the allegations made against Kroger in paragraph 59, as

those allegations are not directed to Campbell, and on that basis denies them.

                                                17
 Case: 1:15-cv-08940 Document #: 184 Filed: 10/01/21 Page 18 of 63 PageID #:2051




60.    Kroger has infringed at least claims 1, 2, 4-5, 7-10, 12-20, 22, 24-28, and 33-35 of the ‘111
       Patent within the meaning of 35 U.S.C. § 271(a) by making and/or using the IQ Maximizer
       Group 2 Dispenser in the United States.

ANSWER: The allegations set forth in paragraph 60 are conclusions of law that need not be

admitted or denied, and that are accordingly deemed denied. By way of further response, Campbell

is without sufficient information as to the allegations made against Kroger in paragraph 60, as

those allegations are not directed to Campbell, and on that basis denies them.

      COUNT IV – MEIJER’S ALLEGED INFRINGEMENT OF THE ‘111 PATENT

61.    Gamon repeats and re-alleges the allegations in the preceding paragraphs as though fully
       set forth herein.

ANSWER: Campbell incorporates by reference paragraphs 1-60 of this Amended Answer,

Affirmative Defenses and Counterclaims of Defendant Campbell Soup Company as if fully set

forth herein.

62.    Meijer has infringed and continues to infringe claims of the ‘111 Patent within the meaning
       of 35 U.S.C. § 271(a) through the foregoing activities including, without limitation, using
       the IQ Maximizer Group 1 Dispenser, the IQ Maximizer Group 3 Dispenser, and the IQ
       Maximizer Group 4 Dispenser in the United States.

ANSWER: The allegations set forth in paragraph 62 are conclusions of law that need not be

admitted or denied, and that are accordingly deemed denied. By way of further response, Campbell

is without sufficient information as to the allegations made against Meijer in paragraph 62, as those

allegations are not directed to Campbell, and on that basis denies them.

63.    Meijer has infringed at least claims 17-35 of the ‘111 Patent within the meaning of
       35 U.S.C. § 271(a) by making and/or using the IQ Maximizer Group 1 Dispenser in the
       United States.

ANSWER: The allegations set forth in paragraph 63 are conclusions of law that need not be

admitted or denied, and that are accordingly deemed denied. By way of further response, Campbell

is without sufficient information as to the allegations made against Meijer in paragraph 63, as those

allegations are not directed to Campbell, and on that basis denies them.

                                                 18
 Case: 1:15-cv-08940 Document #: 184 Filed: 10/01/21 Page 19 of 63 PageID #:2052




64.     Meijer has infringed at least claims 17-20, 22-31, and 33-35 of the ‘111 Patent within the
        meaning of 35 U.S.C. § 271(a) by making and/or using the IQ Maximizer Group 3
        Dispenser in the United States.

ANSWER: The allegations set forth in paragraph 64 are conclusions of law that need not be

admitted or denied, and that are accordingly deemed denied. By way of further response, Campbell

is without sufficient information as to the allegations made against Meijer in paragraph 64, as those

allegations are not directed to Campbell, and on that basis denies them.

65.     Meijer has infringed at least claims 17-20, 22-31, and 33-35 of the ‘111 Patent within the
        meaning of 35 U.S.C. § 271(a) by making and/or using the IQ Maximizer Group 4
        Dispenser in the United States.

ANSWER: The allegations set forth in paragraph 65 are conclusions of law that need not be

admitted or denied, and that are accordingly deemed denied. By way of further response, Campbell

is without sufficient information as to the allegations made against Meijer in paragraph 65, as those

allegations are not directed to Campbell, and on that basis denies them.

      COUNT V – CAMPBELL’S ALLEGED INFRINGEMENT OF THE ‘326 PATENT

66.     Gamon repeats and re-alleges the allegations in the preceding paragraphs as though fully
        set forth herein.

ANSWER: Campbell incorporates by reference paragraphs 1-65 of this Amended Answer,

Affirmative Defenses and Counterclaims of Defendant Campbell Soup Company as if fully set

forth herein.

67.     Campbell’s has infringed and continues to infringe claims of the ‘326 Patent within the
        meaning of 35 U.S.C. § 271(a) through the foregoing activities including, without
        limitation, using, importing, offering for sale and/or selling the IQ Maximizer Group 1
        Dispenser, the IQ Maximizer Group 3 Dispenser, the IQ Maximizer Group 2 Dispenser,
        and the IQ Maximizer Group 4 Dispenser in the United States.

ANSWER: The allegations set forth in paragraph 67 are conclusions of law that need not be

admitted or denied, and that are accordingly deemed denied. By way of further response, Campbell

denies that it infringes any valid and enforceable claim of the ‘326 patent.


                                                 19
 Case: 1:15-cv-08940 Document #: 184 Filed: 10/01/21 Page 20 of 63 PageID #:2053




68.    Campbell’s has infringed at least claims 1-4 and 7-23 of the ‘326 Patent within the
       meaning of 35 U.S.C. § 271(a) by making, using, offering to sell, and/or selling the IQ
       Maximizer Group 1 Dispenser in the United States.

ANSWER: The allegations set forth in paragraph 68 are conclusions of law that need not be

admitted or denied, and that are accordingly deemed denied. By way of further response, Campbell

denies that it infringes any valid and enforceable claim of the ‘326 patent.

69.    Campbell’s has infringed at least claims 1-4, 7-12, and 14-23 of the ‘326 Patent within the
       meaning of 35 U.S.C. § 271(a) by making, using, offering to sell, and/or selling the IQ
       Maximizer Group 3 Dispenser in the United States.

ANSWER: The allegations set forth in paragraph 69 are conclusions of law that need not be

admitted or denied, and that are accordingly deemed denied. By way of further response, Campbell

denies that it infringes any valid and enforceable claim of the ‘326 patent.

70.    Campbell’s has infringed at least claims 1-10, 12, and 14-23 of the ‘326 Patent within the
       meaning of 35 U.S.C. § 271(a) by making, using, offering to sell, and/or selling the IQ
       Maximizer Group 2 Dispenser in the United States.

ANSWER: The allegations set forth in paragraph 70 are conclusions of law that need not be

admitted or denied, and that are accordingly deemed denied. By way of further response, Campbell

denies that it infringes any valid and enforceable claim of the ‘326 patent.

71.    Campbell’s has infringed at least claims 1-4, 7-12, and 14-23 of the ‘326 Patent within the
       meaning of 35 U.S.C. § 271(a) by making, using, offering to sell, and/or selling the IQ
       Maximizer Group 4 Dispenser in the United States.

ANSWER: The allegations set forth in paragraph 71 are conclusions of law that need not be

admitted or denied, and that are accordingly deemed denied. By way of further response, Campbell

denies that it infringes any valid and enforceable claim of the ‘326 patent.

72.    Campbell’s has also indirectly infringed and continues to indirectly infringe claims of the
       ‘326 Patent under 35 U.S.C. § 271(b) by knowingly and actively inducing infringement of
       those claims. Campbell’s has knowingly and actively induced infringement of the ‘326
       Patent, through the foregoing activities including, without limitation, importing, offering
       to sell and selling the IQ Maximizer Group 1 Dispenser, the IQ Maximizer Group 3
       Dispenser, the IQ Maximizer Group 2 Dispenser, and the IQ Maximizer Group 4
       Dispenser in the United States, and by instructing, aiding, assisting and encouraging the

                                                20
 Case: 1:15-cv-08940 Document #: 184 Filed: 10/01/21 Page 21 of 63 PageID #:2054




       offer for sale, sale and use of the IQ Maximizer Group 1 Dispenser, the IQ Maximizer
       Group 3 Dispenser, the IQ Maximizer Group 2 Dispenser, and the IQ Maximizer Group
       4 Dispenser in a manner that infringes the ‘326 Patent. The direct infringers that are
       being induced by Campbell’s include, without limitation, its suppliers including Trinity,
       and end-users including Meijer and Kroger that make, offer for sale, sell and/or use the
       IQ Maximizer Group 1 Dispenser, the IQ Maximizer Group 3 Dispenser, the IQ
       Maximizer Group 2 Dispenser, and the IQ Maximizer Group 4 Dispenser in the United
       States.

ANSWER: The allegations set forth in paragraph 72 are conclusions of law that need not be

admitted or denied, and that are accordingly deemed denied. By way of further response, Campbell

denies that it infringes any valid and enforceable claim of the ‘326 patent.

73.    Campbell’s has infringed at least claims 1-4 and 7-23 of the ‘326 Patent within the
       meaning of 35 U.S.C. § 271(b) by inducing Meijer to use the IQ Maximizer Group 1
       Dispenser in the United States.

ANSWER: The allegations set forth in paragraph 73 are conclusions of law that need not be

admitted or denied, and that are accordingly deemed denied. By way of further response, Campbell

denies that it infringes any valid and enforceable claim of the ‘326 patent.

74.    Campbell’s has infringed at least claims 1-4, 7-12, and 14-23 of the ‘326 Patent within the
       meaning of 35 U.S.C. § 271(b) by inducing Meijer to use the IQ Maximizer Group 3
       Dispenser in the United States.

ANSWER: The allegations set forth in paragraph 74 are conclusions of law that need not be

admitted or denied, and that are accordingly deemed denied. By way of further response, Campbell

denies that it infringes any valid and enforceable claim of the ‘326 patent.

75.    Campbell’s has infringed at least claims 1-4, 7-12, and 14-23 of the ‘326 Patent within the
       meaning of 35 U.S.C. § 271(b) by inducing Meijer to use the IQ Maximizer Group 4
       Dispenser in the United States.

ANSWER: The allegations set forth in paragraph 75 are conclusions of law that need not be

admitted or denied, and that are accordingly deemed denied. By way of further response, Campbell

denies that it infringes any valid and enforceable claim of the ‘326 patent.




                                                21
 Case: 1:15-cv-08940 Document #: 184 Filed: 10/01/21 Page 22 of 63 PageID #:2055




76.    Campbell’s has infringed at least claims 1-4 and 7-23 of the ‘326 Patent within the
       meaning of 35 U.S.C. § 271(b) by inducing Kroger to use the IQ Maximizer Group 1
       Dispenser in the United States.

ANSWER: The allegations set forth in paragraph 76 are conclusions of law that need not be

admitted or denied, and that are accordingly deemed denied. By way of further response, Campbell

denies that it infringes any valid and enforceable claim of the ‘326 patent.

77.    Campbell’s has infringed at least claims 1-10, 12, and 14-23 of the ‘326 Patent within the
       meaning of 35 U.S.C. § 271(b) by inducing Kroger to use the IQ Maximizer Group 2
       Dispenser in the United States.

ANSWER: The allegations set forth in paragraph 77 are conclusions of law that need not be

admitted or denied, and that are accordingly deemed denied. By way of further response, Campbell

denies that it infringes any valid and enforceable claim of the ‘326 patent.

78.    Campbell’s has also indirectly infringed and continues to indirectly infringe claims of the
       ‘326 Patent under 35 U.S.C. § 271(c) through the foregoing activities including, among
       other things, importing, offering for sale and selling the IQ Maximizer Group 1 Dispenser,
       the IQ Maximizer Group 3 Dispenser, the IQ Maximizer Group 2 Dispenser, and the IQ
       Maximizer Group 4 Dispenser and by instructing, aiding, assisting, authorizing,
       advertising, marketing, promoting, providing for and/or encouraging the offer for sale,
       sale and use of the IQ Maximizer Group 1 Dispenser, the IQ Maximizer Group 3 Dispenser,
       the IQ Maximizer Group 2 Dispenser, and the IQ Maximizer Group 4 Dispenser, which
       constitute a material part of the patented invention of the ‘326 Patent, which Campbell’s
       knew are especially made or adapted for use in an infringement of the ‘326 Patent, and
       which are not a staple article of commerce suitable for substantial non-infringing use. The
       direct infringers for Campbell’s contributory infringement under 35 U.S.C. § 271(c)
       include, without limitation, Campbell’s end-users including Kroger and Meijer that use
       the IQ Maximizer Group 1 Dispenser, the IQ Maximizer Group 3 Dispenser, the IQ
       Maximizer Group 2 Dispenser, and/or the IQ Maximizer Group 4 Dispenser in the United
       States.

ANSWER: The allegations set forth in paragraph 78 are conclusions of law that need not be

admitted or denied, and that are accordingly deemed denied. By way of further response, Campbell

denies that it infringes any valid and enforceable claim of the ‘326 patent.

79.    Campbell’s has contributorily infringed at least claims 1-4 and 7-23 of the ‘326 Patent
       within the meaning of 35 U.S.C. § 271(c) by selling Meijer the IQ Maximizer Group 1
       Dispenser in the United States.


                                                22
 Case: 1:15-cv-08940 Document #: 184 Filed: 10/01/21 Page 23 of 63 PageID #:2056




ANSWER: The allegations set forth in paragraph 79 are conclusions of law that need not be

admitted or denied, and that are accordingly deemed denied. By way of further response, Campbell

denies that it infringes any valid and enforceable claim of the ‘326 patent.

80.    Campbell’s has contributorily infringed at least claims 1-4, 7-12, and 14-23 of the ‘326
       Patent within the meaning of 35 U.S.C. § 271(c) by selling Meijer the IQ Maximizer Group
       3 Dispenser in the United States.

ANSWER: The allegations set forth in paragraph 80 are conclusions of law that need not be

admitted or denied, and that are accordingly deemed denied. By way of further response, Campbell

denies that it infringes any valid and enforceable claim of the ‘326 patent.

81.    Campbell’s has contributorily infringed at least claims 1-4, 7-12, and 14-23 of the ‘326
       Patent within the meaning of 35 U.S.C. § 271(c) by selling Meijer the IQ Maximizer Group
       4 Dispenser in the United States.

ANSWER: The allegations set forth in paragraph 81 are conclusions of law that need not be

admitted or denied, and that are accordingly deemed denied. By way of further response, Campbell

denies that it infringes any valid and enforceable claim of the ‘326 patent.

82.    Campbell’s has contributorily infringed at least claims 1-4, 7-12, and 14-23 of the ‘326
       Patent within the meaning of 35 U.S.C. § 271(c) by selling Kroger the IQ Maximizer Group
       1 Dispenser in the United States.

ANSWER: The allegations set forth in paragraph 82 are conclusions of law that need not be

admitted or denied, and that are accordingly deemed denied. By way of further response, Campbell

denies that it infringes any valid and enforceable claim of the ‘326 patent.

83.    Campbell’s has contributorily infringed at least claims 1-10, 12, and 14-23 of the ‘326
       Patent within the meaning of 35 U.S.C. § 271(c) by selling Kroger the IQ Maximizer Group
       2 Dispenser in the United States.

ANSWER: The allegations set forth in paragraph 83 are conclusions of law that need not be

admitted or denied, and that are accordingly deemed denied. By way of further response, Campbell

denies that it infringes any valid and enforceable claim of the ‘326 patent.

      COUNT VI – TRINITY’S ALLEGED INFRINGEMENT OF THE ‘326 PATENT

                                                23
 Case: 1:15-cv-08940 Document #: 184 Filed: 10/01/21 Page 24 of 63 PageID #:2057




84.    Gamon repeats and re-alleges the allegations in the preceding paragraphs as though fully
       set forth herein.

ANSWER: Campbell incorporates by reference paragraphs 1-83 of this Amended Answer,

Affirmative Defenses and Counterclaims of Defendant Campbell Soup Company as if fully set

forth herein.

85.    Trinity has indirectly infringed and continues to indirectly infringe claims of the ‘326
       Patent under 35 U.S.C. § 271(b) by knowingly and actively inducing infringement of those
       claims. Trinity has knowingly and actively induced infringement of the ‘326 Patent,
       through the foregoing activities including, without limitation, importing, offering to sell
       and selling the IQ Maximizer Group 1 Dispenser, the IQ Maximizer Group 3 Dispenser,
       the IQ Maximizer Group 2 Dispenser, and the IQ Maximizer Group 4 Dispenser in the
       United States, and by instructing, aiding, assisting and encouraging the offer for sale, sale
       and use of the IQ Maximizer Group 1 Dispenser, the IQ Maximizer Group 3 Dispenser,
       the IQ Maximizer Group 2 Dispenser, and the IQ Maximizer Group 4 Dispenser in a
       manner that infringes the ‘326 Patent. The direct infringers that are being induced by
       Trinity include, without limitation, its end-users including Meijer and Kroger that make,
       offer for sale, sell and/or use the IQ Maximizer Group 1 Dispenser, the IQ Maximizer
       Group 3 Dispenser, the IQ Maximizer Group 2 Dispenser, and the IQ Maximizer Group 4
       Dispenser in the United States.

ANSWER: The allegations set forth in paragraph 85 are conclusions of law that need not be

admitted or denied, and that are accordingly deemed denied. By way of further response, Campbell

is without sufficient information as to the allegations made against Trinity in paragraph 85, as

those allegations are not directed to Campbell, and on that basis denies them.

86.    Trinity has infringed at least claims 1-4 and 7-23 of the ‘326 Patent within the meaning of
       35 U.S.C. § 271(b) by inducing Meijer to use the IQ Maximizer Group 1 Dispenser in the
       United States.

ANSWER: The allegations set forth in paragraph 86 are conclusions of law that need not be

admitted or denied, and that are accordingly deemed denied. By way of further response, Campbell

is without sufficient information as to the allegations made against Trinity in paragraph 86, as

those allegations are not directed to Campbell, and on that basis denies them.

87.    Trinity has infringed at least claims 1-4, 7-12, and 14-23 of the ‘326 Patent within the
       meaning of 35 U.S.C. § 271(b) by inducing Meijer to use the IQ Maximizer Group 3
       Dispenser in the United States.

                                                24
 Case: 1:15-cv-08940 Document #: 184 Filed: 10/01/21 Page 25 of 63 PageID #:2058




ANSWER: The allegations set forth in paragraph 87 are conclusions of law that need not be

admitted or denied, and that are accordingly deemed denied. By way of further response, Campbell

is without sufficient information as to the allegations made against Trinity in paragraph 87, as

those allegations are not directed to Campbell, and on that basis denies them.

88.    Trinity has infringed at least claims 1-4, 7-12, and 14-23 of the ‘326 Patent within the
       meaning of 35 U.S.C. § 271(b) by inducing Meijer to use the IQ Maximizer Group 4
       Dispenser in the United States.

ANSWER: The allegations set forth in paragraph 88 are conclusions of law that need not be

admitted or denied, and that are accordingly deemed denied. By way of further response, Campbell

is without sufficient information as to the allegations made against Trinity in paragraph 88, as

those allegations are not directed to Campbell, and on that basis denies them.

89.    Trinity has infringed at least claims 1-4 and 7-23 of the ‘326 Patent within the meaning of
       35 U.S.C. § 271(b) by inducing Kroger to use the IQ Maximizer Group 1 Dispenser in the
       United States.

ANSWER: The allegations set forth in paragraph 89 are conclusions of law that need not be

admitted or denied, and that are accordingly deemed denied. By way of further response, Campbell

is without sufficient information as to the allegations made against Trinity in paragraph 89, as

those allegations are not directed to Campbell, and on that basis denies them.

90.    Trinity has infringed at least claims 1-10, 12, and 14-23 of the ‘326 Patent within the
       meaning of 35 U.S.C. § 271(b) by inducing Kroger to use the IQ Maximizer Group 2
       Dispenser in the United States.

ANSWER: The allegations set forth in paragraph 90 are conclusions of law that need not be

admitted or denied, and that are accordingly deemed denied. By way of further response, Campbell

is without sufficient information as to the allegations made against Trinity in paragraph 90, as

those allegations are not directed to Campbell, and on that basis denies them.

91.    Trinity has also indirectly infringed and continues to indirectly infringe claims of the ‘326
       Patent under 35 U.S.C. § 271(c) through the foregoing activities including, among other
       things, importing, offering for sale and selling the IQ Maximizer Group 1 Dispenser, the

                                                25
 Case: 1:15-cv-08940 Document #: 184 Filed: 10/01/21 Page 26 of 63 PageID #:2059




       IQ Maximizer Group 3 Dispenser, the IQ Maximizer Group 2 Dispenser, and the IQ
       Maximizer Group 4 Dispenser and by instructing, aiding, assisting, authorizing,
       advertising, marketing, promoting, providing for and/or encouraging the offer for sale,
       sale and use of the IQ Maximizer Group 1 Dispenser, the IQ Maximizer Group 3 Dispenser,
       the IQ Maximizer Group 2 Dispenser, and the IQ Maximizer Group 4 Dispenser, which
       constitute a material part of the patented invention of the ‘326 Patent, which Trinity knew
       are especially made or adapted for use in an infringement of the ‘326 Patent, and which
       are not a staple article of commerce suitable for substantial non-infringing use. The direct
       infringers for Trinity’s contributory infringement under 35 U.S.C. § 271(c) include,
       without limitation, Trinity’s end-users including Kroger and Meijer that use the IQ
       Maximizer Group 1 Dispenser, the IQ Maximizer Group 3 Dispenser, the IQ Maximizer
       Group 2 Dispenser, and/or the IQ Maximizer Group 4 Dispenser in the United States.

ANSWER: The allegations set forth in paragraph 91 are conclusions of law that need not be

admitted or denied, and that are accordingly deemed denied. By way of further response, Campbell

is without sufficient information as to the allegations made against Trinity in paragraph 91, as

those allegations are not directed to Campbell, and on that basis denies them.

92.    Trinity has contributorily infringed at least claims 1-4 and 7-23 of the ‘326 Patent within
       the meaning of 35 U.S.C. § 271(c) by selling Meijer the IQ Maximizer Group 1 Dispenser
       in the United States.

ANSWER: The allegations set forth in paragraph 92 are conclusions of law that need not be

admitted or denied, and that are accordingly deemed denied. By way of further response, Campbell

is without sufficient information as to the allegations made against Trinity in paragraph 92, as

those allegations are not directed to Campbell, and on that basis denies them.

93.    Trinity has contributorily infringed at least claims 1-4, 7-12, and 14-23 of the ‘326 Patent
       within the meaning of 35 U.S.C. § 271(c) by selling Meijer the IQ Maximizer Group 3
       Dispenser in the United States.

ANSWER: The allegations set forth in paragraph 93 are conclusions of law that need not be

admitted or denied, and that are accordingly deemed denied. By way of further response, Campbell

is without sufficient information as to the allegations made against Trinity in paragraph 93, as

those allegations are not directed to Campbell, and on that basis denies them.




                                                26
 Case: 1:15-cv-08940 Document #: 184 Filed: 10/01/21 Page 27 of 63 PageID #:2060




94.     Trinity has contributorily infringed at least claims 1-4, 7-12, and 14-23 of the ‘326 Patent
        within the meaning of 35 U.S.C. § 271(c) by selling Meijer the IQ Maximizer Group 4
        Dispenser in the United States.

ANSWER: The allegations set forth in paragraph 94 are conclusions of law that need not be

admitted or denied, and that are accordingly deemed denied. By way of further response, Campbell

is without sufficient information as to the allegations made against Trinity in paragraph 94, as

those allegations are not directed to Campbell, and on that basis denies them.

95.     Trinity has contributorily infringed at least claims 1-4 and 7-23 of the ‘326 Patent within
        the meaning of 35 U.S.C. § 271(c) by selling Kroger the IQ Maximizer Group 1 Dispenser
        in the United States.

ANSWER: The allegations set forth in paragraph 95 are conclusions of law that need not be

admitted or denied, and that are accordingly deemed denied. By way of further response, Campbell

is without sufficient information as to the allegations made against Trinity in paragraph 95, as

those allegations are not directed to Campbell, and on that basis denies them.

96.     Trinity has contributorily infringed at least claims 1-10, 12, and 14-23 of the ‘326 Patent
        within the meaning of 35 U.S.C. § 271(c) by selling Kroger the IQ Maximizer Group 2
        Dispenser in the United States.

ANSWER: The allegations set forth in paragraph 96 are conclusions of law that need not be

admitted or denied, and that are accordingly deemed denied. By way of further response, Campbell

is without sufficient information as to the allegations made against Trinity in paragraph 96, as

those allegations are not directed to Campbell, and on that basis denies them.




      COUNT VII – KROGER’S ALLEGED INFRINGEMENT OF THE ‘326 PATENT

97.     Gamon repeats and re-alleges the allegations in the preceding paragraphs as though fully
        set forth herein.




                                                27
 Case: 1:15-cv-08940 Document #: 184 Filed: 10/01/21 Page 28 of 63 PageID #:2061




ANSWER: Campbell incorporates by reference paragraphs 1-96 of this Amended Answer,

Affirmative Defenses and Counterclaims of Defendant Campbell Soup Company as if fully set

forth herein.

98.     Kroger has infringed and continues to infringe claims of the ‘326 Patent within the
        meaning of 35 U.S.C. § 271(a) through the foregoing activities including, without
        limitation, using the IQ Maximizer Group 1 Dispenser and the IQ Maximizer Group 2
        Dispenser in the United States.

ANSWER: The allegations set forth in paragraph 98 are conclusions of law that need not be

admitted or denied, and that are accordingly deemed denied. By way of further response, Campbell

is without sufficient information as to the allegations made against Kroger in paragraph 98, as

those allegations are not directed to Campbell, and on that basis denies them.

99.     Kroger has infringed at least claims 1-4 and 7-23 of the ‘326 Patent within the meaning of
        35 U.S.C. § 271(a) by making and/or using the IQ Maximizer Group 1 Dispenser in the
        United States.

ANSWER: The allegations set forth in paragraph 99 are conclusions of law that need not be

admitted or denied, and that are accordingly deemed denied. By way of further response, Campbell

is without sufficient information as to the allegations made against Kroger in paragraph 99, as

those allegations are not directed to Campbell, and on that basis denies them.

100.    Kroger has infringed at least claims 1-10, 12, and 14-23 of the ‘326 Patent within the
        meaning of 35 U.S.C. § 271(a) by making and/or using the IQ Maximizer Group 2
        Dispenser in the United States.

ANSWER: The allegations set forth in paragraph 100 are conclusions of law that need not be

admitted or denied, and that are accordingly deemed denied. By way of further response, Campbell

is without sufficient information as to the allegations made against Kroger in paragraph 100, as

those allegations are not directed to Campbell, and on that basis denies them.

       COUNT VIII – MEIJER’S ALLEGED INFRINGEMENT OF THE ‘326 PATENT

101.    Gamon repeats and re-alleges the allegations in the preceding paragraphs as though fully
        set forth herein.

                                                28
 Case: 1:15-cv-08940 Document #: 184 Filed: 10/01/21 Page 29 of 63 PageID #:2062




ANSWER: Campbell incorporates by reference paragraphs 1-100 of this Amended Answer,

Affirmative Defenses and Counterclaims of Defendant Campbell Soup Company as if fully set

forth herein.

102.   Meijer has infringed and continues to infringe claims of the ‘326 Patent within the meaning
       of 35 U.S.C. § 271(a) through the foregoing activities including, without limitation, using
       the IQ Maximizer Group 1 Dispenser, the IQ Maximizer Group 3 Dispenser, and the IQ
       Maximizer Group 4 Dispenser in the United States.

ANSWER: The allegations set forth in paragraph 102 are conclusions of law that need not be

admitted or denied, and that are accordingly deemed denied. By way of further response, Campbell

is without sufficient information as to the allegations made against Meijer in paragraph 102, as

those allegations are not directed to Campbell, and on that basis denies them.

103.   Meijer has infringed at least claims 1-4 and 7-23 of the ‘326 Patent within the meaning of
       35 U.S.C. § 271(a) by making and/or using the IQ Maximizer Group 1 Dispenser in the
       United States.

ANSWER: The allegations set forth in paragraph 103 are conclusions of law that need not be

admitted or denied, and that are accordingly deemed denied. By way of further response, Campbell

is without sufficient information as to the allegations made against Meijer in paragraph 103, as

those allegations are not directed to Campbell, and on that basis denies them.

104.   Meijer has infringed at least claims 1-4, 7-12, and 14-23 of the ‘326 Patent within the
       meaning of 35 U.S.C. § 271(a) by making and/or using the IQ Maximizer Group 3
       Dispenser in the United States.

ANSWER: The allegations set forth in paragraph 104 are conclusions of law that need not be

admitted or denied, and that are accordingly deemed denied. By way of further response, Campbell

is without sufficient information as to the allegations made against Meijer in paragraph 104, as

those allegations are not directed to Campbell, and on that basis denies them.

105.   Meijer has infringed at least claims 1-4, 7-12, and 14-23 of the ‘326 Patent within the
       meaning of 35 U.S.C. § 271(a) by making and/or using the IQ Maximizer Group 4
       Dispenser in the United States.


                                                29
 Case: 1:15-cv-08940 Document #: 184 Filed: 10/01/21 Page 30 of 63 PageID #:2063




ANSWER: The allegations set forth in paragraph 105 are conclusions of law that need not be

admitted or denied, and that are accordingly deemed denied. By way of further response, Campbell

is without sufficient information as to the allegations made against Meijer in paragraph 105, as

those allegations are not directed to Campbell, and on that basis denies them.

  COUNT XIII – CAMPBELL’S ALLEGED INFRINGEMENT OF THE ‘646 PATENT

106.   Gamon repeats and re-alleges the allegations in the preceding paragraphs as though fully
       set forth herein

ANSWER: Campbell incorporates by reference paragraphs 1-105 of this Amended Answer,

Affirmative Defenses and Counterclaims of Defendant Campbell Soup Company as if fully set

forth herein.

107.   The ‘646 Patent claims an “ornamental design for a gravity feed dispenser display.”

ANSWER: Campbell admits that the ‘646 patent purports to claim “The ornamental design for a

gravity feed dispenser display, as shown and described” in the ‘646 patent, and denies the

remaining allegations of Paragraph 107.

108.   The IQ Maximizer Group 1 Dispenser and the IQ Maximizer Group 3 Dispenser are
       gravity feed dispenser displays that infringe the ‘646 Patent.

ANSWER: The allegations set forth in paragraph 108 are conclusions of law that need not be

admitted or denied, and that are accordingly deemed denied. By way of further response, Campbell

denies that it infringes any valid and enforceable claim of the ‘646 patent.

109.   Figure 1 of the ‘646 Patent is shown below compared to the IQ Maximizer Group 1
       Dispenser and the IQ Maximizer Group 3 Dispenser.




        ‘646 Patent Fig. 1           IQ Maximizer Group 1              IQ Maximizer Group 3
                                          Dispenser                         Dispenser




                                                30
 Case: 1:15-cv-08940 Document #: 184 Filed: 10/01/21 Page 31 of 63 PageID #:2064




ANSWER: Campbell admits that paragraph 109 of the Complaint includes a portion of Figure 1

of the ‘646 patent and purports to include photographs of portions of the IQ Maximizer Group 1

Dispenser and the IQ Maximizer Group 3 Dispenser, and denies the remaining allegations of

paragraph 109.

110.   The IQ Maximizer Group 1 Dispenser and the IQ Maximizer Group 3 Dispenser have
       appropriated the ornamental design for a gravity feed dispenser display as shown and
       described in the ‘646 Patent. The ‘646 Patent claims a non-functional ornamental design.

ANSWER: The allegations set forth in paragraph 110 are conclusions of law that need not be

admitted or denied, and that are accordingly deemed denied. By way of further response, Campbell

denies that it infringes any valid and enforceable claim of the ‘646 patent.

111.   In the eye of the ordinary observer, giving such attention as a purchaser usually gives, the
       non-functional ornamental design for a gravity feed dispenser display claimed in the ‘646
       Patent and the IQ Maximizer Group 1 Dispenser and the IQ Maximizer Group 3 Dispenser
       are substantially the same; the resemblance is such as to deceive an ordinary observer,
       inducing him/her to purchase one supposing it to be the other.

ANSWER: The allegations set forth in paragraph 111 are conclusions of law that need not be

admitted or denied, and that are accordingly deemed denied. By way of further response, Campbell

denies that it infringes any valid and enforceable claim of the ‘646 patent.




                                                31
 Case: 1:15-cv-08940 Document #: 184 Filed: 10/01/21 Page 32 of 63 PageID #:2065




112.   Campbell’s has infringed and continues to infringe the ornamental design for a gravity
       feed dispenser display claimed in the ‘646 Patent within the meaning of 35 U.S.C. § 271(a)
       through activities including, without limitation, importing, offering for sale and selling the
       IQ Maximizer Group 1 Dispenser and the IQ Maximizer Group 3 Dispenser in the United
       States.

ANSWER: The allegations set forth in paragraph 112 are conclusions of law that need not be

admitted or denied, and that are accordingly deemed denied. By way of further response, Campbell

denies that it infringes any valid and enforceable claim of the ‘646 patent.

113.   Campbell’s has also indirectly infringed and continues to indirectly infringe the
       ornamental design for a gravity feed dispenser display claimed in the ‘646 Patent under
       35 U.S.C. § 271(b) by knowingly and actively inducing infringement through the foregoing
       activities including, without limitation, importing, offering to sell and selling the IQ
       Maximizer Group 1 Dispenser and the IQ Maximizer Group 3 Dispenser in the United
       States, and by instructing, aiding, assisting and encouraging the offer for sale, sale and
       use of the IQ Maximizer Group 1 Dispenser and the IQ Maximizer Group 3 Dispenser in
       a manner that infringes the ‘646 Patent. The direct infringers that are being induced by
       Campbell’s include, without limitation, its retail customers and end-users that use the IQ
       Maximizer Group 1 Dispenser and the IQ Maximizer Group 3 Dispenser in the United
       States. The direct infringers include Kroger and Meijer.

ANSWER: The allegations set forth in paragraph 113 are conclusions of law that need not be

admitted or denied, and that are accordingly deemed denied. By way of further response, Campbell

denies that it infringes any valid and enforceable claim of the ‘646 patent.

114.   Campbell’s infringement and/or knowing and intentional inducement to infringe has
       injured Gamon and Gamon is entitled to recover damages adequate to compensate it for
       such infringement, but in no event less than a reasonable royalty, as permitted under
       35 U.S.C. § 284, as well as all remedies for design Patent infringement permitted under
       35 U.S.C. § 289.

ANSWER: The allegations set forth in paragraph 114 are conclusions of law that need not be

admitted or denied, and that are accordingly deemed denied. By way of further response, Campbell

denies that it infringes any valid and enforceable claim of the ‘646 patent.

115.   Gamon has complied with 35 U.S.C. § 287 to the extent required by law.

ANSWER: Campbell is without knowledge or information sufficient to form a belief as to the

truth of the allegations contained in paragraph 115 and therefore denies same.

                                                32
 Case: 1:15-cv-08940 Document #: 184 Filed: 10/01/21 Page 33 of 63 PageID #:2066




116.   Campbell’s infringement and/or inducement to infringe the ‘646 Patent has been willful,
       deliberate and objectively reckless.

ANSWER: The allegations set forth in paragraph 116 are conclusions of law that need not be

admitted or denied, and that are accordingly deemed denied. By way of further response, Campbell

denies that it infringes any valid and enforceable claim of the ‘646 patent.

117.   Campbell’s infringement of the ‘646 Patent has caused irreparable harm to Gamon, which
       has no adequate remedy at law, and will continue to injure Gamon unless and until this
       Court enters an injunction prohibiting further infringement and, specifically, enjoining
       further importation, manufacture, use, offer for sale and/or sale of products within the
       scope of the design claimed in the ‘646 Patent, and enjoining Campbell’s from inducing
       infringement of the design claimed in the ‘646 Patent.

ANSWER: The allegations set forth in paragraph 117 are conclusions of law that need not be

admitted or denied, and that are accordingly deemed denied. By way of further response, Campbell

denies that it infringes any valid and enforceable claim of the ‘646 patent.

    COUNT XIV – TRINITY’S ALLEGED INFRINGEMENT OF THE ‘646 PATENT

118.   Gamon repeats and re-alleges the allegations in the preceding paragraphs as though fully
       set forth herein.

ANSWER: Campbell incorporates by reference paragraphs 1-117 of this Amended Answer,

Affirmative Defenses and Counterclaims of Defendant Campbell Soup Company as if fully set

forth herein.

119.   Trinity has indirectly infringed and continues to indirectly infringe the ornamental design
       for a gravity feed dispenser display claimed in the ‘646 Patent under 35 U.S.C. § 271(b)
       by knowingly and actively inducing infringement through the foregoing activities
       including, without limitation, importing, offering to sell and selling the IQ Maximizer
       Group 1 Dispenser and the IQ Maximizer Group 3 Dispenser in the United States, and by
       instructing, aiding, assisting and encouraging the offer for sale, sale and use of the IQ
       Maximizer Group 1 Dispenser and the IQ Maximizer Group 3 Dispenser in a manner that
       infringes the ‘646 Patent. The direct infringers that are being induced by Trinity include,
       without limitation, its retail customers and end-users that use the IQ Maximizer Group 1
       Dispenser and the IQ Maximizer Group 3 Dispenser in the United States. The direct
       infringers include Kroger and Meijer.




                                                33
 Case: 1:15-cv-08940 Document #: 184 Filed: 10/01/21 Page 34 of 63 PageID #:2067




ANSWER: The allegations set forth in paragraph 119 are conclusions of law that need not be

admitted or denied, and that are accordingly deemed denied. By way of further response, Campbell

is without sufficient information as to the allegations made against Trinity in paragraph 119, as

those allegations are not directed to Campbell, and on that basis denies them.

120.   Trinity’s infringement and/or knowing and intentional inducement to infringe has injured
       Gamon and Gamon is entitled to recover damages adequate to compensate it for such
       infringement, but in no event less than a reasonable royalty, as permitted under
       35 U.S.C. § 284, as well as all remedies for design Patent infringement permitted under
       35 U.S.C. § 289.

ANSWER: The allegations set forth in paragraph 120 are conclusions of law that need not be

admitted or denied, and that are accordingly deemed denied. By way of further response, Campbell

is without sufficient information as to the allegations made against Trinity in paragraph 120, as

those allegations are not directed to Campbell, and on that basis denies them.

121.   Gamon has complied with 35 U.S.C. § 287 to the extent required by law.

ANSWER: Campbell is without knowledge or information sufficient to form a belief as to the

truth of the allegations contained in Paragraph 121 and therefore denies same.

122.   Trinity’s infringement and/or inducement to infringe the ‘646 Patent has been willful,
       deliberate and objectively reckless.

ANSWER: The allegations set forth in paragraph 122 are conclusions of law that need not be

admitted or denied, and that are accordingly deemed denied. By way of further response, Campbell

is without sufficient information as to the allegations made against Trinity in paragraph 122, as

those allegations are not directed to Campbell, and on that basis denies them.

123.   Trinity’s infringement of the ‘646 Patent has caused irreparable harm to Gamon, which
       has no adequate remedy at law, and will continue to injure Gamon unless and until this
       Court enters an injunction prohibiting further infringement and, specifically, enjoining
       further importation, manufacture, use, offer for sale and/or sale of products within the
       scope of the design claimed in the ‘646 Patent, and enjoining Trinity from inducing
       infringement of the design claimed in the ‘646 Patent.



                                                34
 Case: 1:15-cv-08940 Document #: 184 Filed: 10/01/21 Page 35 of 63 PageID #:2068




ANSWER: The allegations set forth in paragraph 123 are conclusions of law that need not be

admitted or denied, and that are accordingly deemed denied. By way of further response, Campbell

is without sufficient information as to the allegations made against Trinity in paragraph 123, as

those allegations are not directed to Campbell, and on that basis denies them.

       COUNT XV – KROGER’S ALLEGED INFRINGEMENT OF THE ‘646 PATENT

124.     Gamon repeats and re-alleges the allegations in the preceding paragraphs as though fully
         set forth herein.

ANSWER: Campbell incorporates by reference paragraphs 1-123 of this Amended Answer,

Affirmative Defenses and Counterclaims of Defendant Campbell Soup Company as if fully set

forth herein.

125.     Kroger has infringed and continues to infringe the ornamental design for a gravity feed
         dispenser display claimed in the ‘646 Patent within the meaning of 35 U.S.C. § 271(a)
         through activities including, without limitation, using the IQ Maximizer Group 1 Dispenser
         in the United States.

ANSWER: The allegations set forth in paragraph 125 are conclusions of law that need not be

admitted or denied, and that are accordingly deemed denied. By way of further response, Campbell

is without sufficient information as to the allegations made against Kroger in paragraph 125, as

those allegations are not directed to Campbell, and on that basis denies them.

126.     Kroger’s infringement has injured Gamon and Gamon is entitled to recover damages
         adequate to compensate it for such infringement, but in no event less than a reasonable
         royalty, as permitted under 35 U.S.C. § 284, as well as all remedies for design Patent
         infringement permitted under 35 U.S.C. § 289.

ANSWER: The allegations set forth in paragraph 126 are conclusions of law that need not be

admitted or denied, and that are accordingly deemed denied. By way of further response, Campbell

is without sufficient information as to the allegations made against Kroger in paragraph 126, as

those allegations are not directed to Campbell, and on that basis denies them.

127.     Gamon has complied with 35 U.S.C. § 287 to the extent required by law.


                                                35
 Case: 1:15-cv-08940 Document #: 184 Filed: 10/01/21 Page 36 of 63 PageID #:2069




ANSWER: Campbell is without knowledge or information sufficient to form a belief as to the

truth of the allegations contained in Paragraph 127 and therefore denies same.

128.    Kroger’s infringement and/or inducement to infringe the ‘646 Patent has been willful,
        deliberate and objectively reckless.

ANSWER: The allegations set forth in paragraph 128 are conclusions of law that need not be

admitted or denied, and that are accordingly deemed denied. By way of further response, Campbell

is without sufficient information as to the allegations made against Kroger in paragraph 128, as

those allegations are not directed to Campbell, and on that basis denies them.

129.    Kroger’s infringement of the ‘646 Patent has caused irreparable harm to Gamon, which
        has no adequate remedy at law, and will continue to injure Gamon unless and until this
        Court enters an injunction prohibiting further infringement and, specifically, enjoining
        further importation, manufacture, use, offer for sale and/or sale of products within the
        scope of the design claimed in the ‘646 Patent, and enjoining Kroger from inducing
        infringement of the design claimed in the ‘646 Patent.

ANSWER: The allegations set forth in paragraph 129 are conclusions of law that need not be

admitted or denied, and that are accordingly deemed denied. By way of further response, Campbell

is without sufficient information as to the allegations made against Kroger in paragraph 129, as

those allegations are not directed to Campbell, and on that basis denies them.

       COUNT XVI – MEIJER’S ALLEGED INFRINGEMENT OF THE ‘646 PATENT

130.    Gamon repeats and re-alleges the allegations in the preceding paragraphs as though fully
        set forth herein.

ANSWER: Campbell incorporates by reference paragraphs 1-129 of this Amended Answer,

Affirmative Defenses and Counterclaims of Defendant Campbell Soup Company as if fully set

forth herein.

131.    Meijer has infringed and continues to infringe the ornamental design for a gravity feed
        dispenser display claimed in the ‘646 Patent within the meaning of 35 U.S.C. § 271(a)
        through activities including, without limitation, using the IQ Maximizer Group 1 Dispenser
        and the IQ Maximizer Group 3 Dispenser in the United States.



                                                36
 Case: 1:15-cv-08940 Document #: 184 Filed: 10/01/21 Page 37 of 63 PageID #:2070




ANSWER: The allegations set forth in paragraph 131 are conclusions of law that need not be

admitted or denied, and that are accordingly deemed denied. By way of further response, Campbell

is without sufficient information as to the allegations made against Meijer in paragraph 131, as

those allegations are not directed to Campbell, and on that basis denies them.

132.   Meijer’s infringement has injured Gamon and Gamon is entitled to recover damages
       adequate to compensate it for such infringement, but in no event less than a reasonable
       royalty, as permitted under 35 U.S.C. § 284, as well as all remedies for design Patent
       infringement permitted under 35 U.S.C. § 289.

ANSWER: The allegations set forth in paragraph 132 are conclusions of law that need not be

admitted or denied, and that are accordingly deemed denied. By way of further response, Campbell

is without sufficient information as to the allegations made against Meijer in paragraph 132, as

those allegations are not directed to Campbell, and on that basis denies them.

133.   Gamon has complied with 35 U.S.C. § 287 to the extent required by law.

ANSWER: Campbell is without knowledge or information sufficient to form a belief as to the

truth of the allegations contained in Paragraph 133 and therefore denies same.

134.   Meijer’s infringement and/or inducement to infringe the ‘646 Patent has been willful,
       deliberate and objectively reckless.

ANSWER: The allegations set forth in paragraph 134 are conclusions of law that need not be

admitted or denied, and that are accordingly deemed denied. By way of further response, Campbell

is without sufficient information as to the allegations made against Meijer in paragraph 134, as

those allegations are not directed to Campbell, and on that basis denies them.

135.   Meijer’s infringement of the ‘646 Patent has caused irreparable harm to Gamon, which
       has no adequate remedy at law, and will continue to injure Gamon unless and until this
       Court enters an injunction prohibiting further infringement and, specifically, enjoining
       further importation, manufacture, use, offer for sale and/or sale of products within the
       scope of the design claimed in the ‘646 Patent, and enjoining Meijer from inducing
       infringement of the design claimed in the ‘646 Patent.




                                                37
 Case: 1:15-cv-08940 Document #: 184 Filed: 10/01/21 Page 38 of 63 PageID #:2071




ANSWER: The allegations set forth in paragraph 135 are conclusions of law that need not be

admitted or denied, and that are accordingly deemed denied. By way of further response, Campbell

is without sufficient information as to the allegations made against Meijer in paragraph 135, as

those allegations are not directed to Campbell, and on that basis denies them.

  COUNT XXI – CAMPBELL’S ALLEGED INFRINGEMENT OF THE ‘645 PATENT

136.   Gamon repeats and re-alleges the allegations in the preceding paragraphs as though fully
       set forth herein.

ANSWER: Campbell incorporates by reference paragraphs 1-135 of this Amended Answer,

Affirmative Defenses and Counterclaims of Defendant Campbell Soup Company as if fully set

forth herein.

137.   The ‘645 Patent claims an “ornamental design for a gravity feed dispenser display.”

ANSWER: Campbell admits that the ‘645 patent purports to claim “The ornamental design for a

gravity feed dispenser display, as shown and described” in the ‘645 patent, and denies the

remaining allegations of paragraph 137.

138.   The IQ Maximizer Group 1 Dispenser, the IQ Maximizer Group 2 Dispenser, and the IQ
       Maximizer Group 3 Dispenser are dispensers and display devices that infringe the ‘645
       Patent.

ANSWER: The allegations set forth in paragraph 138 are conclusions of law that need not be

admitted or denied, and that are accordingly deemed denied. By way of further response, Campbell

denies that it infringes any valid and enforceable claim of the ‘645 patent.

139.   Figure 1 of the ‘645 Patent is shown below compared to the IQ Maximizer Group 1
       Dispenser, the IQ Maximizer Group 2 Dispenser, and the IQ Maximizer Group 3
       Dispenser.




                                                38
 Case: 1:15-cv-08940 Document #: 184 Filed: 10/01/21 Page 39 of 63 PageID #:2072




       ‘645 Patent         IQ Maximizer Group        IQ Maximizer Group        IQ Maximizer Group
                                   1                         2                         3




ANSWER: Campbell admits that paragraph 139 of the Complaint includes a portion of Figure 1

of the ‘645 patent and purports to include photographs of portions of the IQ Maximizer Group 1

Dispenser, IQ Maximizer Group 2 Dispenser, and IQ Maximizer Group 3 Dispenser, and denies

the remaining allegations of paragraph 139.

140.   The IQ Maximizer Group 1 Dispenser, the IQ Maximizer Group 2 Dispenser, and the IQ
       Maximizer Group 3 Dispenser have appropriated the ornamental design for a gravity feed
       dispenser display as shown and described in the ‘645 Patent. The ‘645 Patent claims a
       nonfunctional ornamental design.

ANSWER: The allegations set forth in paragraph 140 are conclusions of law that need not be

admitted or denied, and that are accordingly deemed denied. By way of further response, Campbell

denies that it infringes any valid and enforceable claim of the ‘645 patent.

141.   In the eye of the ordinary observer, giving such attention as a purchaser usually gives, the
       non-functional ornamental design for a gravity feed dispenser display claimed in the ‘645
       Patent and the IQ Maximizer Group 1 Dispenser, the IQ Maximizer Group 2 Dispenser,
       and the IQ Maximizer Group 3 Dispenser are substantially the same; the resemblance is
       such as to deceive an ordinary observer, inducing him/her to purchase one supposing it to
       be the other.




                                                39
 Case: 1:15-cv-08940 Document #: 184 Filed: 10/01/21 Page 40 of 63 PageID #:2073




ANSWER: The allegations set forth in paragraph 141 are conclusions of law that need not be

admitted or denied, and that are accordingly deemed denied. By way of further response, Campbell

denies that it infringes any valid and enforceable claim of the ‘645 patent.

142.   Campbell’s has infringed and continues to infringe the ornamental design for a gravity
       feed dispenser display claimed in the ‘645 Patent within the meaning of 35 U.S.C. § 271(a)
       through activities including, without limitation, importing, offering for sale and selling the
       IQ Maximizer Group 1 Dispenser, the IQ Maximizer Group 2 Dispenser, and the IQ
       Maximizer Group 3 Dispenser in the United States.

ANSWER: The allegations set forth in paragraph 142 are conclusions of law that need not be

admitted or denied, and that are accordingly deemed denied. By way of further response, Campbell

denies that it infringes any valid and enforceable claim of the ‘645 patent.

143.   Campbell’s has also indirectly infringed and continues to indirectly infringe the
       ornamental design for a gravity feed dispenser display claimed in the ‘645 Patent under
       35 U.S.C. § 271(b) by knowingly and actively inducing infringement through the foregoing
       activities including, without limitation, importing, offering to sell and selling the IQ
       Maximizer Group 1 Dispenser, the IQ Maximizer Group 2 Dispenser, and the IQ
       Maximizer Group 3 Dispenser in the United States, and by instructing, aiding, assisting
       and encouraging the offer for sale, sale and use of the IQ Maximizer Group 1 Dispenser,
       the IQ Maximizer Group 2 Dispenser, and the IQ Maximizer Group 3 Dispenser in a
       manner that infringes the ‘645 Patent. The direct infringers that are being induced by
       Campbell’s include, without limitation, its retail customers and end-users that use the IQ
       Maximizer Group 1 Dispenser, the IQ Maximizer Group 2 Dispenser, and the IQ
       Maximizer Group 3 Dispenser in the United States. The direct infringers include Kroger
       and Meijer.

ANSWER: The allegations set forth in paragraph 143 are conclusions of law that need not be

admitted or denied, and that are accordingly deemed denied. By way of further response, Campbell

denies that it infringes any valid and enforceable claim of the ‘645 patent.

144.   Campbell’s infringement and/or knowing and intentional inducement to infringe has
       injured Gamon and Gamon is entitled to recover damages adequate to compensate it for
       such infringement, but in no event less than a reasonable royalty, as permitted under 35
       U.S.C. § 284, as well as all remedies for design Patent infringement permitted under 35
       U.S.C. § 289.




                                                40
 Case: 1:15-cv-08940 Document #: 184 Filed: 10/01/21 Page 41 of 63 PageID #:2074




ANSWER: The allegations set forth in paragraph 144 are conclusions of law that need not be

admitted or denied, and that are accordingly deemed denied. By way of further response, Campbell

denies that it infringes any valid and enforceable claim of the ‘645 patent.

145.   Gamon has complied with 35 U.S.C. § 287 to the extent required by law.

ANSWER: Campbell is without knowledge or information sufficient to form a belief as to the

truth of the allegations contained in paragraph 145 and therefore denies same.

146.   Campbell’s infringement and/or inducement to infringe the ‘645 Patent has been willful,
       deliberate and objectively reckless.

ANSWER: The allegations set forth in paragraph 146 are conclusions of law that need not be

admitted or denied, and that are accordingly deemed denied. By way of further response, Campbell

denies that it infringes any valid and enforceable claim of the ‘645 patent.

147.   Campbell’s infringement of the ‘645 Patent has caused irreparable harm to Gamon, which
       has no adequate remedy at law, and will continue to injure Gamon unless and until this
       Court enters an injunction prohibiting further infringement and, specifically, enjoining
       further importation, manufacture, use, offer for sale and/or sale of products within the
       scope of the design claimed in the ‘645 Patent, and enjoining Campbell’s from inducing
       infringement of the design claimed in the ‘645 Patent.

ANSWER: The allegations set forth in paragraph 147 are conclusions of law that need not be

admitted or denied, and that are accordingly deemed denied. By way of further response, Campbell

denies that it infringes any valid and enforceable claim of the ‘645 patent.

   COUNT XXII – TRINITY’S ALLEGED INFRINGEMENT OF THE ‘645 PATENT

148.   Gamon repeats and re-alleges the allegations in the preceding paragraphs as though fully
       set forth herein.

ANSWER: Campbell incorporates by reference paragraphs 1-147 of this Amended Answer,

Affirmative Defenses and Counterclaims of Defendant Campbell Soup Company as if fully set

forth herein.

149.   Trinity has indirectly infringed and continues to indirectly infringe the ornamental design
       for a gravity feed dispenser display claimed in the ‘645 Patent under 35 U.S.C. § 271(b) by

                                                41
 Case: 1:15-cv-08940 Document #: 184 Filed: 10/01/21 Page 42 of 63 PageID #:2075




       knowingly and actively inducing infringement through the foregoing activities including,
       without limitation, importing, offering to sell and selling the IQ Maximizer Group 1
       Dispenser, the IQ Maximizer Group 2 Dispenser, and the IQ Maximizer Group 3 Dispenser
       in the United States, and by instructing, aiding, assisting and encouraging the offer for sale,
       sale and use of the IQ Maximizer Group 1 Dispenser, the IQ Maximizer Group 2 Dispenser,
       and the IQ Maximizer Group 3 Dispenser in a manner that infringes the ‘645 Patent. The
       direct infringers that are being induced by Trinity include, without limitation, its retail
       customers and end-users that use the IQ Maximizer Group 1 Dispenser, the IQ Maximizer
       Group 2 Dispenser, and the IQ Maximizer Group 3 Dispenser in the United States. The
       direct infringers include Kroger and Meijer.

ANSWER: The allegations set forth in paragraph 149 are conclusions of law that need not be

admitted or denied, and that are accordingly deemed denied. By way of further response, Campbell

is without sufficient information as to the allegations made against Trinity in paragraph 149, as

those allegations are not directed to Campbell, and on that basis denies them.

150.   Trinity’s infringement and/or knowing and intentional inducement to infringe has injured
       Gamon and Gamon is entitled to recover damages adequate to compensate it for such
       infringement, but in no event less than a reasonable royalty, as permitted under 35 U.S.C.
       § 284, as well as all remedies for design Patent infringement permitted under 35 U.S.C. §
       289.

ANSWER: The allegations set forth in paragraph 150 are conclusions of law that need not be

admitted or denied, and that are accordingly deemed denied. By way of further response, Campbell

is without sufficient information as to the allegations made against Trinity in paragraph 150, as

those allegations are not directed to Campbell, and on that basis denies them.

151.   Gamon has complied with 35 U.S.C. § 287 to the extent required by law.

ANSWER: Campbell is without knowledge or information sufficient to form a belief as to the

truth of the allegations contained in paragraph 151 and therefore denies same.

152.   Trinity’s infringement and/or inducement to infringe the ‘645 Patent has been willful,
       deliberate and objectively reckless.

ANSWER: The allegations set forth in paragraph 152 are conclusions of law that need not be

admitted or denied, and that are accordingly deemed denied. By way of further response, Campbell



                                                 42
 Case: 1:15-cv-08940 Document #: 184 Filed: 10/01/21 Page 43 of 63 PageID #:2076




is without sufficient information as to the allegations made against Trinity in paragraph 152, as

those allegations are not directed to Campbell, and on that basis denies them.

153.   Trinity’s infringement of the ‘645 Patent has caused irreparable harm to Gamon, which
       has no adequate remedy at law, and will continue to injure Gamon unless and until this
       Court enters an injunction prohibiting further infringement and, specifically, enjoining
       further importation, manufacture, use, offer for sale and/or sale of products within the
       scope of the design claimed in the ‘645 Patent, and enjoining Trinity from inducing
       infringement of the design claimed in the ‘645 Patent.

ANSWER: The allegations set forth in paragraph 153 are conclusions of law that need not be

admitted or denied, and that are accordingly deemed denied. By way of further response, Campbell

is without sufficient information as to the allegations made against Trinity in paragraph 153, as

those allegations are not directed to Campbell, and on that basis denies them.

   COUNT XXIII – KROGER’S ALLEGED INFRINGEMENT OF THE ‘645 PATENT

154.   Gamon repeats and re-alleges the allegations in the preceding paragraphs as though fully
       set forth herein.

ANSWER: Campbell incorporates by reference paragraphs 1-153 of this Amended Answer,

Affirmative Defenses and Counterclaims of Defendant Campbell Soup Company as if fully set

forth herein.

155.   Kroger has infringed and continues to infringe the ornamental design for a gravity feed
       dispenser display claimed in the ‘645 Patent within the meaning of 35 U.S.C. § 271(a)
       through activities including, without limitation, using the IQ Maximizer Group 1 Dispenser
       and the IQ Maximizer Group 2 Dispenser in the United States.

ANSWER: The allegations set forth in paragraph 155 are conclusions of law that need not be

admitted or denied, and that are accordingly deemed denied. By way of further response, Campbell

is without sufficient information as to the allegations made against Kroger in paragraph 155, as

those allegations are not directed to Campbell, and on that basis denies them.

156.   Kroger’s infringement has injured Gamon and Gamon is entitled to recover damages
       adequate to compensate it for such infringement, but in no event less than a reasonable
       royalty, as permitted under 35 U.S.C. § 284, as well as all remedies for design Patent
       infringement permitted under 35 U.S.C. § 289.

                                                43
 Case: 1:15-cv-08940 Document #: 184 Filed: 10/01/21 Page 44 of 63 PageID #:2077




ANSWER: The allegations set forth in paragraph 156 are conclusions of law that need not be

admitted or denied, and that are accordingly deemed denied. By way of further response, Campbell

is without sufficient information as to the allegations made against Kroger in paragraph 156, as

those allegations are not directed to Campbell, and on that basis denies them.

157.   Gamon has complied with 35 U.S.C. § 287 to the extent required by law.

ANSWER: Campbell is without knowledge or information sufficient to form a belief as to the

truth of the allegations contained in paragraph 157 and therefore denies same.

158.   Kroger’s infringement and/or inducement to infringe the ‘645 Patent has been willful,
       deliberate and objectively reckless.

ANSWER: The allegations set forth in paragraph 158 are conclusions of law that need not be

admitted or denied, and that are accordingly deemed denied. By way of further response, Campbell

is without sufficient information as to the allegations made against Kroger in paragraph 158, as

those allegations are not directed to Campbell, and on that basis denies them.

159.   Kroger’s infringement of the ‘645 Patent has caused irreparable harm to Gamon, which
       has no adequate remedy at law, and will continue to injure Gamon unless and until this
       Court enters an injunction prohibiting further infringement and, specifically, enjoining
       further importation, manufacture, use, offer for sale and/or sale of products within the
       scope of the design claimed in the ‘645 Patent, and enjoining Kroger from inducing
       infringement of the design claimed in the ‘645 Patent.

ANSWER: The allegations set forth in paragraph 159 are conclusions of law that need not be

admitted or denied, and that are accordingly deemed denied. By way of further response, Campbell

is without sufficient information as to the allegations made against Kroger in paragraph 159, as

those allegations are not directed to Campbell, and on that basis denies them.

   COUNT XXIV – MEIJER’S ALLEGED INFRINGEMENT OF THE ‘645 PATENT

160.   Gamon repeats and re-alleges the allegations in the preceding paragraphs as though fully
       set forth herein.




                                                44
 Case: 1:15-cv-08940 Document #: 184 Filed: 10/01/21 Page 45 of 63 PageID #:2078




ANSWER: Campbell incorporates by reference paragraphs 1-159 of this Amended Answer,

Affirmative Defenses and Counterclaims of Defendant Campbell Soup Company as if fully set

forth herein.

161.   Meijer has infringed and continues to infringe the ornamental design for a gravity feed
       dispenser display claimed in the ‘645 Patent within the meaning of 35 U.S.C. § 271(a)
       through activities including, without limitation, using the IQ Maximizer Group 1 Dispenser
       and the IQ Maximizer Group 3 Dispenser in the United States.

ANSWER: The allegations set forth in paragraph 161 are conclusions of law that need not be

admitted or denied, and that are accordingly deemed denied. By way of further response, Campbell

is without sufficient information as to the allegations made against Meijer in paragraph 161, as

those allegations are not directed to Campbell, and on that basis denies them.

162.   Meijer’s infringement has injured Gamon and Gamon is entitled to recover damages
       adequate to compensate it for such infringement, but in no event less than a reasonable
       royalty, as permitted under 35 U.S.C. § 284, as well as all remedies for design Patent
       infringement permitted under 35 U.S.C. § 289.

ANSWER: The allegations set forth in paragraph 162 are conclusions of law that need not be

admitted or denied, and that are accordingly deemed denied. By way of further response, Campbell

is without sufficient information as to the allegations made against Meijer in paragraph 162, as

those allegations are not directed to Campbell, and on that basis denies them.

163.   Gamon has complied with 35 U.S.C. § 287 to the extent required by law.

ANSWER: Campbell is without knowledge or information sufficient to form a belief as to the

truth of the allegations contained in paragraph 163 and therefore denies same.

164.   Meijer’s infringement and/or inducement to infringe the ‘645 Patent has been willful,
       deliberate and objectively reckless.

ANSWER: The allegations set forth in paragraph 164 are conclusions of law that need not be

admitted or denied, and that are accordingly deemed denied. By way of further response, Campbell




                                                45
 Case: 1:15-cv-08940 Document #: 184 Filed: 10/01/21 Page 46 of 63 PageID #:2079




is without sufficient information as to the allegations made against Meijer in paragraph 164, as

those allegations are not directed to Campbell, and on that basis denies them.

165.   Meijer’s infringement of the ‘645 Patent has caused irreparable harm to Gamon, which
       has no adequate remedy at law, and will continue to injure Gamon unless and until this
       Court enters an injunction prohibiting further infringement and, specifically, enjoining
       further importation, manufacture, use, offer for sale and/or sale of products within the
       scope of the design claimed in the ‘645 Patent, and enjoining Meijer from inducing
       infringement of the design claimed in the ‘645 Patent.

ANSWER: The allegations set forth in paragraph 165 are conclusions of law that need not be

admitted or denied, and that are accordingly deemed denied. By way of further response, Campbell

is without sufficient information as to the allegations made against Meijer in paragraph 165, as

those allegations are not directed to Campbell, and on that basis denies them.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs respectfully ask this Court to enter judgment against Defendants,
and against their subsidiaries, successors, parents, affiliates, officers, directors, agents, servants,
employees, and all persons in active concert or participation with the Defendants, granting the
following relief:

       A.      The entry of judgment in favor of Gamon and against the Defendants;

       B.      An award of damages adequate to compensate Gamon for the infringement that has
               occurred, and in no event less than a reasonable royalty as permitted by 35 U.S.C.
               § 284, together with prejudgment interest;

       C.      Additional remedies for design Patent infringement as permitted under
               35 U.S.C. § 289;

       D.      Increased damages as permitted under 35 U.S.C. § 284;

       E.      A finding that this case is exceptional and an award to Gamon of its attorneys’ fees
               and costs as provided by 35 U.S.C. § 285;

       F.      A permanent injunction prohibiting further infringement, inducement and/or
               contributory infringement of the Patents-in-Suit; and,

       G.      Such other relief that Gamon is entitled to under law, and any other further relief
               that this Court or a jury may deem just and proper.




                                                  46
  Case: 1:15-cv-08940 Document #: 184 Filed: 10/01/21 Page 47 of 63 PageID #:2080




ANSWER:         Campbell denies that Plaintiffs are entitled to any of the relief requested in

Plaintiffs’ prayer for relief.

                           CAMPBELL’S AFFIRMATIVE DEFENSES

        Campbell pleads the following affirmative defenses to the allegations in Plaintiffs’

Complaint:

                       First Affirmative Defense – Failure to State a Claim

        Plaintiffs’ Complaint fails to state a claim upon which relief may be granted.

                   Second Affirmative Defense – Invalidity of the ‘111 Patent

        One or more claims of the ‘111 patent are invalid for failure to comply with one or more

of the requirements of 35 U.S.C. §§ 101, et seq.

               Third Affirmative Defense –Non-Infringement of the ‘111 Patent

        The IQ Maximizer Group 1 Dispenser, the IQ Maximizer Group 2 Dispenser, the IQ

Maximizer Group 3 Dispenser, and the IQ Maximizer Group 4 Dispenser do not infringe any valid

and enforceable claim of the ‘111 patent and, in any event, Campbell has not directly infringed

any claim of the ‘111 patent, and Campbell has not induced or contributed to infringement of any

claim of the ‘111 patent, at least because Campbell was without knowledge that the acts allegedly

induced by Campbell constituted infringement of said patent or that any component offered for

sale or sold was especially made or especially adapted for use in an infringement of said patent.

                   Fourth Affirmative Defense – Invalidity of the ‘326 Patent

        One or more claims of the ‘326 patent are invalid for failure to comply with one or more

of the requirements of 35 U.S.C. §§ 101, et seq.

                Fifth Affirmative Defense –Non-Infringement of the ‘326 Patent

        The IQ Maximizer Group 1 Dispenser, the IQ Maximizer Group 2 Dispenser, the IQ

Maximizer Group 3 Dispenser, and the IQ Maximizer Group 4 Dispenser do not infringe any valid

                                                47
 Case: 1:15-cv-08940 Document #: 184 Filed: 10/01/21 Page 48 of 63 PageID #:2081




and enforceable claim of the ‘326 patent and, in any event, Campbell has not directly infringed

any claim of the ‘326 patent, and Campbell has not induced or contributed to infringement of any

claim of the ‘326 patent, at least because Campbell was without knowledge that the acts allegedly

induced by Campbell constituted infringement of said patent or that any component offered for

sale or sold was especially made or especially adapted for use in an infringement of said patent.

                     Sixth Affirmative Defense – Invalidity of the ‘646 Patent

          The ‘646 patent claim is invalid for failure to comply with one or more of the requirements

of 35 U.S.C. §§ 101, et seq.

               Seventh Affirmative Defense –Non-Infringement of the ‘646 Patent

          The IQ Maximizer Group 1 Dispenser and the IQ Maximizer Group 3 Dispenser do not

infringe any valid and enforceable claim of the ‘646 patent and, in any event, Campbell has not

directly infringed any claim of the ‘646 patent, and Campbell has not induced infringement of any

claim of the ‘646 patent, at least because Campbell was without knowledge that the acts allegedly

induced by Campbell constituted infringement of said patent.

                    Eighth Affirmative Defense – Invalidity of the ‘645 Patent

          The ‘645 patent claim is invalid for failure to comply with one or more of the requirements

of 35 U.S.C. §§ 101, et seq.

                Ninth Affirmative Defense –Non-Infringement of the ‘645 Patent

          The IQ Maximizer Group 1 Dispenser, the IQ Maximizer Group 2 Dispenser, and the IQ

Maximizer Group 3 Dispenser do not infringe any valid and enforceable claim of the ‘645 patent

and, in any event, Campbell has not directly infringed any claim of the ‘645 patent, and Campbell

has not induced infringement of any claim of the ‘645 patent, at least because Campbell was

without knowledge that the acts allegedly induced by Campbell constituted infringement of said

patent.

                                                  48
 Case: 1:15-cv-08940 Document #: 184 Filed: 10/01/21 Page 49 of 63 PageID #:2082




       Tenth Affirmative Defense –Waiver, Implied License, Estoppel, and Acquiescence

         Plaintiffs’ claims are barred by the doctrines of waiver, acquiescence, implied license,

and/or equitable estoppel.

                    Eleventh Affirmative Defense – Limitation on Damages

         Plaintiffs’ claims for damages are limited and/or barred under 35 U.S.C. §§ 286, 287 and

289.

                  Twelfth Affirmative Defense – No Right to Injunctive Relief

         Plaintiffs’ claims for injunctive relief are barred because Plaintiffs have an adequate

remedy at law, have not been irreparably damaged, the balance of hardships is not in Plaintiffs’

favor, and the public interest would not be served by granting injunctive relief.

                     Thirteenth Affirmative Defense – Inequitable Conduct

         The ‘645 and ‘646 patents are unenforceable because Plaintiffs, the named inventors on

the faces of the Patents-in-Suit, and/or their representatives failed to comply with their duty of

candor and good faith in dealing with the USPTO. The details surrounding Plaintiffs’ inequitable

conduct are explained in paragraphs 1-67 of Campbell’s Amended Counterclaims below, which

are incorporated by reference herein.

 Fourteenth Affirmative Defense – Judicial Estoppel, Collateral Estoppel, and Law of the
                                         Case

         Plaintiffs’ claims are barred in whole or in part under the doctrines of judicial estoppel,

collateral estoppel, and/or law of the case.

                Fifteenth Affirmative Defense –First Sale and Double Recovery

         On information and belief, Plaintiffs’ requested relief is barred or otherwise limited based

on the “first sale” doctrine, and/or restrictions on double recovery of the Patents-in-Suit.




                                                 49
  Case: 1:15-cv-08940 Document #: 184 Filed: 10/01/21 Page 50 of 63 PageID #:2083




                           Sixteenth Affirmative Defense – Lack of Standing

         Plaintiff Gamon International, Inc. lacks standing to enforce the ‘326 patent, ‘111 patent,

‘645 patent and ‘646 patent, as Gamon International, Inc. holds no ownership interest in or

exclusive license to those patents.

                               RESERVATION OF RIGHT TO AMEND

         Defendants’ investigation and discovery in this matter is ongoing 2 and Campbell therefore

reserves the right to amend this Answer, Affirmative Defenses, and Counterclaims of Defendant

Campbell Soup Company as new information becomes available.

                           CAMPBELL’S AMENDED COUNTERCLAIMS

         For its Amended Counterclaims against Gamon Plus, Inc. and Gamon International, Inc.

(collectively, “Gamon”), Counterclaim-Plaintiff Campbell Soup Company (“Campbell) alleges as

follows:

                    Allegations Pertaining To All Of Campbell’s Counterclaims

         1.       The counterclaims arise under the Declaratory Judgment Act, 28 U.S.C. §§ 2201

and 2202, and the Patent Laws of the United States, 35 U.S.C. §§ 1 et seq.

         2.       Subject matter jurisdiction of these counterclaims is proper under 28 U.S.C. §§

1331 and 1338(a) and Fed. R. Civ. P. 13.

         3.       Venue as to Campbell’s counterclaims is proper under 28 U.S.C. §§ 1391(c) and

1400(b), and because Plaintiffs have commenced the underlying action in this District.




2
  Campbell specifically reserves the right to assert a defense of inequitable conduct for the ‘111 and ‘326 patents, as
well as a related counterclaim for declaratory judgment that the ‘111 and ‘326 patents are unenforceable. Discovery
in this case recently re-opened and defendants will be pursuing discovery based on Gamon and its counsel’s failures
during the prosecution of the ‘111, ‘326, ‘646, and ‘645 patents before the USPTO. Once discovery on this issue has
been completed, Defendants may seek leave to amend their Answer and counterclaims to assert additional grounds
that the ‘111, ‘326, ‘646, and ‘645 patents are unenforceable as a result of inequitable conduct.

                                                         50
 Case: 1:15-cv-08940 Document #: 184 Filed: 10/01/21 Page 51 of 63 PageID #:2084




         4.    Counterclaim plaintiff Trinity is a limited liability company organized under the

laws of the State of New Jersey with a principal place of business at 60 Leonard Street, Metuchen,

New Jersey 08840.

         5.    Counterclaim plaintiff Campbell is a corporation organized under the laws of the

State of New Jersey with a principal place of business at 1 Campbell Place, Camden, New Jersey

08103.

         6.    Counterclaim plaintiff Meijer is a corporation organized under the laws of the State

of Michigan with a principal place of business at 2929 Walker Avenue North West, Grand Rapids,

Michigan 49544.

         7.    Counterclaim plaintiff Kroger is a corporation organized under the laws of the State

of Ohio with a principal place of business as 1014 Vine Street, Cincinnati, Ohio 45202.

         8.    Counterclaim defendant Gamon Plus, Inc. (“Gamon Plus”) is a corporation

organized under the laws of the State of Illinois with a principal place of business at 2303 S

Michigan Ave. Suite 203, Chicago, IL 60616. Personal jurisdiction over Gamon Plus is proper

because Gamon Plus is incorporated in Illinois, has purposely availed itself of the privilege of

doing business in Illinois, has purposefully availed itself of this forum’s benefits and privileges in

this action, and, upon information and belief, maintains continuous and systematic contacts with

Illinois so as to reasonably allow jurisdiction to be exercised over it.

         9.    Counterclaim defendant Gamon International, Inc. (“Gamon International”) is a

corporation organized under the laws of the State of Illinois with a principal place of business at

2303 S Michigan Ave. Suite 203, Chicago, IL 60616. Personal jurisdiction over Gamon

International is proper because Gamon International is incorporated in Illinois, has purposely

availed itself of the privilege of doing business in Illinois, has purposefully availed itself of this



                                                  51
 Case: 1:15-cv-08940 Document #: 184 Filed: 10/01/21 Page 52 of 63 PageID #:2085




forum’s benefits and privileges in this action, and, upon information and belief, maintains

continuous and systematic contacts with Illinois so as to reasonably allow jurisdiction to be

exercised over it.

       10.      Counterclaim defendants Gamon Plus, Inc. and Gamon International, Inc.

(together, “Gamon”) allege that they are the owner and exclusive licensee, respectively, of the

‘111, ‘326, ‘646, and ‘645 patents.

       11.      Gamon International, Inc. and Gamon Plus Inc. have submitted themselves to this

Court’s jurisdiction by alleging, in the present lawsuit, that Campbell, Trinity, Kroger and Meijer

infringe the ‘111, ‘326, ‘646, and ‘645 patents. Accordingly, an actual case or controversy between

Counterclaim-Plaintiff Campbell and Gamon exists and is of such immediacy and reality to

warrant the issuance of a declaratory judgment.

         First Counterclaim – Declaratory Judgment That the ‘111 Patent is Invalid

       12.      Campbell incorporates by reference Counterclaim Paragraphs 1-11 as if fully set

forth herein.

       13.      The ‘111 patent is invalid for failure to comply with one or more of the

requirements of 35 U.S.C. §§ 101, et seq.

    Second Counterclaim – Declaratory Judgment That the ‘111 Patent is Not Infringed

       14.      Campbell incorporates by reference Counterclaim Paragraphs 1-14 as if fully set

forth herein.

       15.      Campbell does not infringe and has not infringed, directly or indirectly, literally or

pursuant to the doctrine of equivalents, any valid and enforceable claim of the ‘111 patent.




                                                  52
 Case: 1:15-cv-08940 Document #: 184 Filed: 10/01/21 Page 53 of 63 PageID #:2086




        Third Counterclaim – Declaratory Judgment That the ‘326 Patent is Invalid

       16.      Campbell incorporates by reference Counterclaim Paragraphs 1-15 as if fully set

forth herein.

       17.      The ‘326 patent is invalid for failure to comply with one or more of the

requirements of 35 U.S.C. §§ 101, et seq.

    Fourth Counterclaim – Declaratory Judgment That the ‘326 Patent is Not Infringed

       18.      Campbell incorporates by reference Counterclaim Paragraphs 1-17 as if fully set

forth herein.

       19.      Campbell does not infringe and has not infringed, directly or indirectly, literally or

pursuant to the doctrine of equivalents, any valid and enforceable claim of the ‘326 patent.

         Fifth Counterclaim – Declaratory Judgment That the ‘646 Patent is Invalid

       20.      Campbell incorporates by reference Counterclaim Paragraphs 1-19 as if fully set

forth herein.

       21.      The ‘646 patent is invalid for failure to comply with one or more of the

requirements of 35 U.S.C. §§ 101, et seq.

     Sixth Counterclaim – Declaratory Judgment That the ‘646 Patent is Not Infringed

       22.      Campbell incorporates by reference Counterclaim Paragraphs 1-21 as if fully set

forth herein.

       23.      Campbell does not infringe and has not infringed, directly or indirectly, literally or

pursuant to the doctrine of equivalents, any valid and enforceable claim of the ‘646 patent.




                                                 53
 Case: 1:15-cv-08940 Document #: 184 Filed: 10/01/21 Page 54 of 63 PageID #:2087




       Seventh Counterclaim – Declaratory Judgment That the ‘645 Patent is Invalid

       24.      Campbell incorporates by reference Counterclaim Paragraphs 1-23 as if fully set

forth herein.

       25.      The ‘645 patent is invalid for failure to comply with one or more of the

requirements of 35 U.S.C. §§ 101, et seq.

    Eighth Counterclaim – Declaratory Judgment That the ‘645 Patent is Not Infringed

       26.      Campbell incorporates by reference Counterclaim Paragraphs 1-25 as if fully set

forth herein.

       27.      Campbell does not infringe and has not infringed, directly or indirectly, literally or

pursuant to the doctrine of equivalents, any valid and enforceable claim of the ‘645 patent.

    Ninth Counterclaim – Declaratory Judgment of Unenforceability of the ‘646 Patent

       28.      Campbell incorporates by reference Counterclaim Paragraphs 1-27 as if fully set

forth herein.

       29.      The ‘646 patent is unenforceable because Terry J. Johnson, Travis J. Johnson, and

John Schoemer (the “Named Inventors”), Gamon, and the attorneys who represented Gamon

and/or the Named Inventors, when involved in the prosecution of the ‘646 patent, deliberately

withheld one or more known material prior art references from the USPTO during prosecution of

the ‘646 patent.

       30.      The single most reasonable inference that a reasonable factfinder can draw from

each of the acts discussed in this Counterclaim is that the deliberate withholding of these material

references was done or made with the specific intent to deceive the PTO.

       31.      During prosecution of the ‘646 patent, the Named Inventors, Gamon, and their

attorneys and agents, and anyone else responsible for prosecuting the ‘646 patent, knew or should

have known that all patent applicants and their counsel are under a duty to act with good faith and

                                                 54
 Case: 1:15-cv-08940 Document #: 184 Filed: 10/01/21 Page 55 of 63 PageID #:2088




candor before the USPTO and are required by 37 C.F.R. § 1.56 to disclose material information to

the USPTO.

       32.     The attorneys and agents who prosecuted the ‘646 patent on behalf of the Named

Inventors and/or Gamon, including but not limited to Perry J. Saidman, are registered patent

attorneys who knew or should have known of their duty of good faith and candor before the PTO

and the requirement of 37 C.F.R. § 1.56 to disclose material information to the PTO.

       33.     On September 25, 2009, Perry J. Saidman filed the application resulting in the ‘646

patent entitled “Gravity Feed Dispenser Display.”

       34.     On December 24, 2009, Perry J. Saidman submitted an Information Disclosure

Statement which identified U.S. Patent Nos. D405,622 and D417,975 (“Linz Patents”).

       35.     No further Information Disclosure Statements were filed by Perry J. Saidman, the

Named Inventors, and/or Gamon in the application resulting in the ‘646 patent.

       36.     The ‘646 patent was issued by the USPTO on March 30, 2010.

       37.     In 2004, Arthur W. Linz and Merchandizing Display Corporation filed a lawsuit

against Gamon, among others, alleging that Gamon’s gravity feed dispensers infringed the Linz

Patents. Linz, et al. v. The Great Atlantic & Pacific Tea Co., Case No. 2:04-cv-785 (D.N.J.) (the

“Linz Litigation”).

       38.     In defense of the allegations of infringement of the Linz Patents, Gamon served an

interrogatory response on July 13, 2004 alleging that the Linz Patents were invalid in view of U.S.

Patent No. 5,462,198 (“the ‘198 patent”).

       39.     The ‘198 patent is entitled “Modular Bottle Dispenser” and issued on October 31,

1995. Sheet 1 of the drawings of the ‘198 patent is reproduced below:




                                                55
Case: 1:15-cv-08940 Document #: 184 Filed: 10/01/21 Page 56 of 63 PageID #:2089




    40.    The ‘198 patent is prior art to the ‘646 patent under 35 U.S.C. 102(b).

    41.    The ‘198 patent states the following at Col. 6, ln. 3-15:

    A label also can be attached to the door 14. Door 14 includes a raised ridge 15 which creates
    a recess 13 into which a label can fit. A label discloses to a customer the product contained
    in a particular dispenser 10. A label can be attached to door 14 through the use of an
    adhesive or through other means. A customer can thus find the identity of the product in a
    dispenser from two sources: (1) the label on the door, and (2) the product itself displayed
    in the dispenser opening 48. When many dispensers are interlocked together to form a bank
    of dispensers, the labels on each door and the displayed products create a billboard effect
    that apprises the customer of all of the products from one manufacturer.

    42.    The ‘198 patent further states the following at Col. 7, ln. 8-25:

    The dispenser opening 48 allows bottles to be displayed and allows for easy retrieval by a
    customer. As shown in FIG. 3, the dispenser opening 48 is formed by an angled surface 44
    of the V-shaped guide island 33 and the retaining lip 50. The bottles 70 rest against the
    retaining lip 50 and the angled surface 44 provides a large opening to allow easier grasping
    of the bottle 70. The ease of retrieving a bottle 70 is further enhanced by the notch 52 in


                                             56
 Case: 1:15-cv-08940 Document #: 184 Filed: 10/01/21 Page 57 of 63 PageID #:2090




       the retaining lip 50. The notch 52 provides a space in which to insert a finger or a thumb
       to grasp a bottle 70.

       The bottle dispenser 10 of the present invention stores, displays and dispenses difficult to
       roll bottles in the space provided by a standard size retail shelf. Further, several bottle
       dispensers 10 can be interlocked with the use of interlocking members which create a visual
       billboard effect. In addition, a bottle dispenser 10 always appears full to a customer but can
       be checked by visual inspection to determine if the dispenser 10 requires restocking

       43.     The ‘198 patent was never disclosed to the USPTO in connection with the

prosecution of the ‘646 patent.

       44.     Based on at least the comparison of the disclosure of the ‘198 patent relative to the

claim of the ‘646 patent, the ‘198 patent was but-for material to the ‘646 patent.




               Fig 1 of ‘198 patent                             Sole Fig. of ‘646 patent



       45.     The Named Inventors, Gamon and/or other representatives of the Named Inventors

and/or Gamon knew of the ‘198 patent at the time they prosecuted the application resulting in the

‘646 patent, as evidenced by the fact that they cited the ‘198 patent in the Linz litigation in 2004,

several years before their filing in 2009 of the application that resulted in the ‘646 patent.




                                                  57
 Case: 1:15-cv-08940 Document #: 184 Filed: 10/01/21 Page 58 of 63 PageID #:2091




       46.      It is reasonable to infer that the Named Inventors, Gamon, and/or other

representatives of the Named Inventors and/or Gamon withheld the ‘198 patent during prosecution

of the application resulting in the ‘646 patent with the specific intent to deceive the PTO.

       47.      Campbell seeks a declaratory judgment that the ‘646 patent is unenforceable.

    Tenth Counterclaim – Declaratory Judgment of Unenforceability of the ‘645 Patent

       48.      Campbell incorporates by reference Counterclaim Paragraphs 1-47 as if fully set

forth herein.

       49.      The ‘645 patent is unenforceable because the Named Inventors, Gamon, and the

attorneys who represented Gamon and/or the Named Inventors, when involved in the prosecution

of the ‘645 patent deliberately withheld one or more known material prior art references from the

USPTO during prosecution of the ‘645 patent.

       50.      The single most reasonable inference that a reasonable factfinder can draw from

each of the acts discussed in this Counterclaim is that the deliberate withholding of these material

references was done or made with the specific intent to deceive the PTO.

       51.      During prosecution of the ‘645 patent, the Named Inventors, Gamon, and their

attorneys and agents, and anyone else responsible for prosecuting the ‘645 patent, knew or should

have known that all patent applicants and their counsel are under a duty to act with good faith and

candor before the USPTO and are required by 37 C.F.R. § 1.56 to disclose material information to

the USPTO.

       52.      The attorneys and agents who prosecuted the ‘645 patent on behalf of the Named

Inventors and/or Gamon, including but not limited to Perry J. Saidman, are registered patent

attorneys who knew or should have known of their duty of good faith and candor before the PTO

and the requirement of 37 C.F.R. § 1.56 to disclose material information to the PTO.



                                                 58
 Case: 1:15-cv-08940 Document #: 184 Filed: 10/01/21 Page 59 of 63 PageID #:2092




       53.     On February 9, 2010, Perry J. Saidman filed the application resulting in the ‘645

patent entitled “Gravity Feed Dispenser Display.”

       54.     On February 9, 2010, Perry J. Saidman submitted an Information Disclosure

Statement which identified the Linz Patents.

       55.     No further Information Disclosure Statements were filed by Perry J. Saidman, the

Named Inventors, and/or Gamon in the application resulting in the ‘645 patent.

       56.     The ‘645 patent was issued by the USPTO on August 17, 2010.

       57.     In 2004, Arthur W. Linz and Merchandizing Display Corporation filed a lawsuit

against Gamon, among others, alleging that Gamon’s gravity feed dispensers infringed the Linz

Patents. Linz, et al. v. The Great Atlantic & Pacific Tea Co., Case No. 2:04-cv-785 (D. of N.J.)

       58.     In defense of the allegations of infringement of the Linz Patents, Gamon served an

interrogatory response on July 13, 2004 alleging that the Linz Patents were invalid in view of the

‘198 patent.

       59.     The ‘198 patent is entitled “Modular Bottle Dispenser” and issued on October 31,

1995. Sheet 1 of the drawings of the ‘198 patent is reproduced below:




                                                59
Case: 1:15-cv-08940 Document #: 184 Filed: 10/01/21 Page 60 of 63 PageID #:2093




    60.    The ‘198 patent is prior art to the ‘645 patent under 35 U.S.C. 102(b).

    61.    The ‘198 patent states the following at Col. 6, ln. 3-15:

    A label also can be attached to the door 14. Door 14 includes a raised ridge 15 which creates
    a recess 13 into which a label can fit. A label discloses to a customer the product contained
    in a particular dispenser 10. A label can be attached to door 14 through the use of an
    adhesive or through other means. A customer can thus find the identity of the product in a
    dispenser from two sources: (1) the label on the door, and (2) the product itself displayed
    in the dispenser opening 48. When many dispensers are interlocked together to form a bank
    of dispensers, the labels on each door and the displayed products create a billboard effect
    that apprises the customer of all of the products from one manufacturer.

    62.    The ‘198 patent further states the following at Col. 7, ln. 8-25:

    The dispenser opening 48 allows bottles to be displayed and allows for easy retrieval by a
    customer. As shown in FIG. 3, the dispenser opening 48 is formed by an angled surface
    44 of the V-shaped guide island 33 and the retaining lip 50. The bottles 70 rest against the
    retaining lip 50 and the angled surface 44 provides a large opening to allow easier
    grasping of the bottle 70. The ease of retrieving a bottle 70 is further enhanced by the


                                             60
 Case: 1:15-cv-08940 Document #: 184 Filed: 10/01/21 Page 61 of 63 PageID #:2094




       notch 52 in the retaining lip 50. The notch 52 provides a space in which to insert a finger
       or a thumb to grasp a bottle 70.

       The bottle dispenser 10 of the present invention stores, displays and dispenses difficult to
       roll bottles in the space provided by a standard size retail shelf. Further, several bottle
       dispensers 10 can be interlocked with the use of interlocking members which create a
       visual billboard effect. In addition, a bottle dispenser 10 always appears full to a customer
       but can be checked by visual inspection to determine if the dispenser 10 requires
       restocking

       63.     The ‘198 patent was never disclosed to the USPTO in connection with the

prosecution of the ‘645 patent.

       64.     Based on at least the comparison of the disclosure of the ‘198 patent relative to the

claim of the ‘645 patent, the ‘198 patent was but-for material to the ‘645 patent.




               Fig 1 of ‘198 patent                             Sole Fig. of ‘645 patent



       65.     The Named Inventors, Gamon and/or other representatives of the Named Inventors

and/or Gamon knew of the ‘198 patent at the time they prosecuted the application resulting in the

‘645 patent, as evidenced by the fact that they cited the ‘198 patent in the Linz litigation in 2004,

several years before their filing in 2010 of the application that resulted in the ‘645 patent.




                                                  61
 Case: 1:15-cv-08940 Document #: 184 Filed: 10/01/21 Page 62 of 63 PageID #:2095




       66.     It is reasonable to infer that the Named Inventors, Gamon, and/or other

representatives of the Named Inventors and/or Gamon withheld the ‘198 patent during prosecution

of the application resulting in the ‘645 patent with the specific intent to deceive the PTO.

       67.     Campbell seeks a declaratory judgment that the ‘645 patent is unenforceable.

                            CAMPBELL’S PRAYER FOR RELIEF

       WHEREFORE, Campbell requests the following relief:

       A.      Dismissal of Gamon’s claims in their entirety with prejudice;

       B.      That Campbell be awarded their costs and disbursements in this action;

       C.      That the Court issue an Order in favor of Campbell under Counts 1 through 10 of

Campbell’s Amended Counterclaims that:

               1.      No valid and enforceable claim of the ‘111 patent, ‘326 patent, ‘646 patent

                       and ‘645 patent is infringed by Campbell;

               2.      The asserted claims of the ‘111 patent, ‘326 patent, ‘646 patent and ‘645

                       patent are invalid;

               3.      The ‘646 patent and ‘645 patents are unenforceable;

       D.      An award to Campbell of compensatory damages, attorneys’ fees and costs, and

       interest on its Affirmative Defenses and Counterclaims;

       E.      That the Court declare this case to be exceptional pursuant to 35 U.S.C. § 285, and

award Campbell its attorneys’ fees and costs; and

       F.      That Campbell be awarded such other and further relief as this Court may deem

just and proper.

                                        JURY DEMAND

       Campbell requests a trial by jury on all issues so triable.



                                                 62
Case: 1:15-cv-08940 Document #: 184 Filed: 10/01/21 Page 63 of 63 PageID #:2096




Dated: October 1, 2021
                                     /s/ Steven E. Jedlinski

                                     Tracy Zurzolo Quinn (admitted pro hac vice)
                                     HOLLAND & KNIGHT LLP
                                     2929 Arch Street
                                     Suite 800
                                     Philadelphia, PA 19104
                                     Tel: (215) 252-9522
                                     Fax: (215) 867-6070
                                     tracy.quinn@hklaw.com

                                     Steven E. Jedlinski
                                     HOLLAND & KNIGHT LLP
                                     150 North Riverside Plaza, 27th floor
                                     Chicago, IL 60606
                                     Tel: (312) 263-3600
                                     Fax: (312)578-6666
                                     steven.jedlinski@hklaw.com

                                     Mark T. Goracke (admitted pro hac vice)
                                     HOLLAND & KNIGHT LLP
                                     10 Saint James Avenue
                                     Boston, MA 02116
                                     Tel: (617) 523-2700
                                     Fax: (617) 523-6850
                                     mark.gorakce@hklaw.com
                                     Admitted pro hac vice

                                     Attorneys for Defendant Campbell Soup
                                     Company




                                      63
